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EXHIBIT D
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First Judicial District of Pennsylvania

51CR00034302009
Johnathan Robins

Trial (Jury) Volume 4
March 12, 2010

First Judicial District of Pennsylvania
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Philadelphia, PA 19110
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Trial Jury) Volume 4

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Johnathan Robins March 12, 2010
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(1] {1}
[2] IN THE COURT OF. COMMON PLEAS OF PHILADELPHIA [2] APPEARANCES:
13} FIRST JUDICIAL DISTRICT OF PENNSYLVANIA [3] ,
[4 CRIMINAL TRIAL DIVISION [4] MICHAEL STACKOW, ESQ.
(5) eo Assistant District Attomey
[6) [5] Counsel for the Commonwealth |

COMMONWEALTH [6] JOHNATHAN ROBINS, Pro Se
7 THOMAS L. McGILL, JR., ESQ.

vs. Counsel for the defendant

[8]
JOHNATHAN ROBINS

[9]
[10}

: CP-51-CR-0003430-2009

11] Courtroom 901 Justice Center
Philadelphia, Pennsylvania

[12] Friday, March 12, 2010

{13} ~t

[14] BEFORE: HONORABLE CHARLES J. CUNNINGHAM, III
AND A JURY

[15]

[16] CASE IN CHIEF

(17] Tee

[18]

lig). (VOLUME Il)’

[20} ‘

[21]

[22]

[23]

[24]

[25]

Carl G. Sokolski
Official Court Reporter
(215) 683-8060

[8]
[9] DEFENDANT'S EVIDENCE DIRECT CR. REDR. RECR.
[10] Tyra Felder 7 10

Johnathan Robins
[17]

[12} EXHIBITS

[13] NO. MARKED

[14] D-1 Driver's License Application 22
D-2 Complaint for Custody 34

[15] D-3. Letter from Wayne Williams, City of
Philadelphia, Department of Public

[16] Health, Dated December 30,2008 36
D-4 Photocopy of four MySpace pages 44

7]

15 48 78

Carl G. Sokolski
Official Cor eporter
(215),

Page 4

1]
[2] PROCEEDINGS. . sses here today?
[3] THE COURT: It looks like this NDANT: The only person
[4] case could go to the jury this morning, right? oing to be testifying is Tyra
[Bl MR. STACKOW: Yes. 15] ‘Felder, the detective. So we'll just do Miss
[6] . THE COURT: Before lunch? [6] Tyra Felder and after that I'll take the

MR. STACKOW: Yes. Judge, | do [7] stand.
[8] have, if | may, one other supplement to the [8] THE COURT: Okay.
[9] jury instructions that | gave to the Court [91 MR. STACKOW: And, Your Honor,
[10] yesterday.. [10] may I place something on the record regarding
[14] - THE COURT: Did you give one to [11] the detective?
[12] the defendant? [12] THE COURT: Sure.
[13] MR, STACKOW: Yes, | did, Your [13] ° MR. STACKOW: After court
[14] Honor. [14] yesterday, Mr. McGill provided me with a phone
[15] THE COURT: Did you furnish the [15] number for that detective out in Delaware
[16] charge with regard to the crime? [16] County and | placed a phone call to that
[17] MR. STACKOW: | didn't, Your [17] office this morning, spoke to a detective who
[18] Honor. [18] works in the same department, who informed me
[19] THE COURT: You gave me | think [19] that the detective whose name is Shawn Rowe, -
[20] a rough copy of the points for charge. [20] the requested witness is Shawn Rowe, that he
[21] MR. STACKOW: | did. [21] was not working, that he would be in at four
[22] THE COURT: Do you still have a [22] o'clock today and that ! could leave a voice
[23] copy of that? [23] mail message. | did leave a voice mail
[24] MR. STACKOW: | do. [24] message asking him to call me. | left him
[25] THE COURT: Mr. Robins, do you [25] both my work number and my cell phone number.

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(4)

[2] | told him generally what it was about, that:
[3] it was an ongoing trial right now. And |

t4] haven't heard anything since then, since that
[5] Voice mail message was left this morning.

t [6] MR. McGILL: Your Honor, this

[7] is Courtroom D calling. | scheduled a date

(8 for a case that's being continued. May |

[9] accept the call?

[10] - THE COURT: Sure.

ith MR. McGILL: Thank you.

[12] THE COURT: So you have one
[13] witness and that witness is who again?
[14] THE DEFENDANT: Miss Tyra
[15] Felder.

[16] THE COURT: And Miss Tyra
[17] Felder is what? A friend?

[18] - THE DEFENDANT: A friend.

[19] THE COURT: All right.

[20] ° MR. STACKOW: | would ask for
[21] an offer of proof, Your Honor.

[22] THE DEFENDANT: She's going to

[23] be testifying about how old Ericka told her
[24] she was and she's also going to be testifyi
[25] when she went with Ericka to go pick up
Carl G. Sokolski :
Official Court Reporter

(215) 683-8060

(1] .
[2] Ericka's stuff around in March of 2008 in a

[3] U-Haul van.

[4] MR. STACKOW: Do you have a
[5] date of birth for Miss Felder?

[6] THE WITNESS: 12/13/1980.

[7] MR. STACKOW: Thank you.

[8] MR. McGILL: Thank you, Your
[9] Honor.

[10] COURT CRIER: Please remain

[11] seated while the ladies and gentlemen of the
[12] jury enter the courtroom.

[13] - (Jury summoned. ).

[14] THE COURT: Good morning,
[15] ladies and gentlemen.

[16] JURY COLLECTIVELY: Good
[17] morning.

[18] THE COURT: We're starting late

[19] this morning because some of you were late and
[20] as | pointed out the other day, if one of you

[21] is late, then that makes all of you late

22] because we're not going to get started until

all of you are here.

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{1]

[2] our intention to Keep you in confinement

[3] now until the end of the trial just to maké : IREGTEXAMINATION

[4] Sure we know where you are. We take lun I FENDANT:

[5] orders from every jury so that while they're [5s] Q. Mrs. Felder.

[6] deliberating, and we expect that you will be (6) A. Yes.

[7] deliberarting by lunch, so that while you're i] @ Well, Miss Felder. How long

[8] deliberating you can stay together, eat lunch, [8] have you known Ericka Johnson?

[9] take a break, eat lunch, resume deliberation, i] A Since 2008.

[10] or eat lunch while you're deliberating. It [10] Q Who do you know her from?

[11] will be up fo you. That's the reason for the [ft] A. From you.

[12] lunch order. [12] Q. How long have you known me?
[13] When we left off yesterday, it [13] A Probably since | was like four.

[14] was the defense case that was on and it's [14] Q Okay. Now, can you tell us

[15] still the defense case. Mr. Robins, do you [15] what Ericka Johnson told you her age was?
[16] have a witness to call? . [161 A. Well, when | first Ericka I was

[17] THE DEFENDANT: Yes, | do, Your [17] doing her hair and she told me that she was
[18] Honor. A Mrs. Tyra Felder. [18] eighteen years old.

[19] COURT CRIER: Please remain (19) Q. Okay.

[20] standing. Please state for the record your [20} THE COURT: I'm sorry. |

[21] name. Spell your name for the Court. [21] missed the beginning of that.

[22] THE WITNESS: Tyra, T-Y-R-A. (22) THE WITNESS: When |! first met

[23] My last name is Felder, F-E-L-D-E-R-. [23] her | was doing her hair and she told me that
[2:44 TYRA FELDER, affer having been [24] she was eighteen years old.

{25] duly sworn, was examined and testified as [25] BY THE DEFENDANT:

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o Page 9 Page 10
[1] Tyra Felder - direct [1] '- Tyra Felder - cross
2] Q Well, around what time was [2] that's basically it. Her mother never said ~
[3} this? [3] her age to me or anything. :
4] A This had to be around like [4] @Q. So her mother never told you L
__ [5] February or March in 2008. [5] how old she was?
- fs) =. Okay. So the baby had just. [6] A. No, she didn't.
[7] been born. : 1 @. So do you know how old she is
[8] A. Uh-huh. [8] now? .
i] @Q Can you tell us about the 19) Az No, | do not.
[10] incident when you went to Ericka’s mother's [10] THE DEFENDANT: I'm finished.
[11] house in Upper Darby in a U-Haul van to pick [11] THE COURT: Do you have any
[12] up Ericka's things? . [12] questions?
[13] A... Well, when! went to her [13] MR. STACKOW: do, yes. Thank
[14] mother's house, | was sitting outside while [14] you.
[15] she went in to get her things and her mother [15] CROSS EXAMINATION
[16] came to the door and, well, of course, she was [16] BY MR. STACKOW:
[17] cursing and hollering and screaming at me. | (177 Q Good morning, Miss Felder.
[18] didn't know her, you know. And she said to [is] OA Good morning.
[19] me, she was like, Do you know how old she is? [19] Q. You wouldn't be surprised to
[20] | was like, She told me that she was eighteen. [20] learn that Ericka is seventeen today, would
[21] Well, you know, that's how | know how old she [21] you?
[22}is. And then she just went back in there and 22) «OA. | mean, no.
[23] slammed the door, and her and Ericka was Q. Okay. You said you've known
[24] arguing and Ericka just was moving her things. e defendant since you were a young girl; is
125] and it was just a big, chaotic scene. Ant
Carl G. Sokolski
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Page 12
[1] Tyra Felder - cross
[2] A. Uh-huh, yes.
3] a. And so for most of your life as not pregnant?
[4] you two have been acquainted or friends**Is . No-When | did her hair, she
[5] that fair to say? , +] just had had the ‘baby.
(6) A. Well, actually, he was friends 6} @. Did she bring in John-John with
[7] with my mom, so, yeah, basically. [7] her?
ig] +Q. Okay. When you say with your [3] A. - Yes.
[9] Mom, you mean dating her? g 86@. Where was this being done? At
(10) A. No, no, no. Well, actually, he [10] your house or at some other place? -
[11] just was friends like with my mom and | had [11] A. At my house, yes.
[12] older siblings, so he was friends with them fiz] Q. All right. So | take it that
[13] too. [13] Mr. Robins would have had to tell her where to
[14] Q. Okay. Do you know how old the 114] go for this hair appointment; is that right?
[15] defendant is today? [15] A. Yes.
[16] A. No. [16] Q. Because he knew where you lived
[17] Q. Would it surprise you to learn [17] at that time.
[18] that he's actually, he'll be forty-four in a [18] A. Yes.
[19] couple of weeks? A little surprising, right? (19) Qa But she had never been to that
20) «OA Well, | wouldn't know how old [20] place before; is that right?
[21] he is either. 21] A. No.
22] Q Okay. Now, let me ask you [22] @. Was this something that she had
123] this. March of 2008. Or excuse me. What did [23] to pay you for, the hair? Or was it just
[24] you say? February or March of 2008 is when [24] something you were doing?
[25] you first met Ericka Johnson? [25] A. Well, | was doing a favor for "
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Car] Sokolski, O.C.R Court Reporting System (page 9 - 12)
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7 Page 13 Page 14
i] Tyra Felder - cross 1]
[2] him. . 2] <A. Yes. :
BEB) 86a. Okay. For Mr. Robins. [3] @Q. Had you told her that you were
fa] OA Yes. [4] friends with Mr. Robins prior to that?
Bb} «a. So he paid you money? 5} A. Yes.
"is) «COA. Yes. je) @. Longtime friends?
i) 86. Now, was Mr. Robins there when I] A. Yes.
.]8] she came to get her hair done? [8] MR. STACKOW: That's all the
Ig] =A. Yes. He brung her there. {9] questions | have. -
(10) Q. Did he stay while she was [10] THE DEFENDANT: That's it. She
[11] getting her hair done? [11] can be excused.
[12] A. Pretty much, most of the time. [12] THE COURT: You can step down.
[13] Q So when the issue of the age [13] You're excused.
[14] came up, Mr. Robins was there? [14] THE WITNESS: Okay. Thank you.
(15) A. No. [15] (Witness excused.)
[16] @.~° Hewasn't there. [16] THE COURT: Mr. Robins,
[17] A. No. [17] anything else?
[18] Q. So he had left at that point? [18] THE DEFENDANT: I'll be taking .
[19] A, Yes. He had went to work. [19] the stand in a minute. Can | just speak with
(20) Q So why was Ericka's age even a [20] my lawyer for a second?

(21] topic of conversation, then?

[22] A. Because she asked me how old
[23] was I.
[24] Q Okay. And it's only then that

[25] you asked her how old she was.
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[21] THE COURT: Okay.
(Brief pause in the

[1] Johnathan. Robins - direct
[2] THE COURT: Let's go. It's
[3] show time.

14] THE DEFENDANT: Yes, sir.
[5] THE COURT: Come right up here.
[6] Have a seat on the stand. You'll be sworn in.
i COURT CRIER: Just remain

[8] standing. Please state your name. Spell your
[9] last name for us.

[10] THE WITNESS: Johnathan Robins.
[11] R-O-B-I-N-S.
[12] JOHNATHAN ROBINS, after having

[13] been duly sworn, was examined and testified as
[14] follows. . .
[15]. DIRECT EXAMINATION.
[16] . . THEWITNESS: Okay. When |
[17] first met Ericka, | was trying to date people.
[18] | was on the Internet, you know. | actually
[19] contacted some people, some girl in the
(20] Philippines. It just didn't feel right. And
[21] just on a humbug | actually happened to pick
J22] up and call the Philadelphia Raven. It's a
[23] dating phone line.
[24] - When | called, | listened on
125] the phone and there's different rooms and it
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; well, it was a few people
nférest, and it was one young
{ay ‘Said'‘that, you know, she wanted a
15] family, wanted to get married, and | was at

[6] the time when | actually wanted a family and
[7] get married myself. And what | did was |

[8] tried to talk to her and what happens is she

[9] has to ring back... It's like you press on the

[10] phone. They have to ring back. And so she
[11] rung back. It's a few that actually rang back
[12] to me, but she rung back and we exchanged
[13] phone numbers.

[14] After we exchanged phone

[15] numbers and after we actually got off of the
[16] Philadelphia Raven, which again is a adult
[17] eighteen dating service, -- when you get on
[18] it, it tells you the rules are you have to be

[19] eighteen — we conversed for weeks over the
[20] phone before we ever met. So we basically got
[21] to know each other, what we wanted, you know,
[22] what we were looking for. And | understood
[23] that she was nineteen but, you know, | asked
[24] her, you know, you're nineteen, why do you

’ i[25] want a family? Why? That's what she wanted.

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[19] | was like, again, | was fo name the boys, she
[20] was to name the girls. And we left. -

[21]

[22] of time when we left Hometown Buffet, which
[23] was, that was like in December, | believe.

[24] But we talked and when we finished talki
[25] the phone again, we decided to start go

1 don't know from that period

n

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[1] ‘Johnathan Robins - direct (11 “Johnathan Robins - direct , -
- 2 A lot of females that-actually = 12] together January first, 2007. That's when we -

[3] were closer to my age in the neighborhood that [3] were on the phone and we were official, all

[4] | lived in were actually on drugs or smoked [4] right, let's start dating.

[5] cigarettes or had children of their own. 1 [5] So we, again, were just talking

[6] had no children. And from my experience, a. [6] and eventually we started going out. We

17] lot of -- | know how it sounds — a Jot of [7] started going out. We went to my house in

[3] females, the way that other men treat them, 18] February. And, yes, we did have intercourse.

[9] they take it out on the next boyfriend or {9] | believed she was nineteen. That's what we

[10] whatever. : [10] talked about. We also at that point in fime,

[11] And when | met her, we got to [11] to make more of a commitment, she wanted us to

[12] know each other. We clicked. Don't know why. [12] be in contact with each other so she said we

[13] We just happened fo click. So we met at, we [13] needed cell phones. I'm like okay. So | got

[14] met in Upper Darby, Sixty-Ninth Street. There © [14] a cell phone with two-year plan, a Sprint, you

[15] was a Hometown Buffet. | believe we had [15] know. We both got Fusic, matching Fusic cell

[16] dinner there. We talked. We talked about, [16] phones. And we constantly, we did constantly

[17] again, about marriage, about children and what [17] go out.

[18] we expected, you know, in a relationship. And [18] She wanted to get, again,

119] married and have children. It just so

[20] happened.that the children came a little bit
[21] quicker than we had actually planned. We
[22] actually thought we were going to have a
3] relationship and get married first. But she
got pregnant. She stayed with me for like,

tually stayed with me most

[1]

18]

[7] give the witness some water?

8]

[9] on vacation, like she said. We went on

[10] vacation. The reason why | went on vacation
[11] to Florida is before | ever met her, | had got
[12] a phone call about this plan, this, what is

[2] of 2007. | did not -- do we have any.watel
[3] Can | get some more water? Because
14] is getting dry. |s it possible I could get
[5] some water? .

Johnathan Robins - direct ~

THE COURT: Officer, could you

THE WITNESS: We happened to go

y
+75] met her, but | never took it up on the offer
[6] of the vacation because | had no one to go
[7] with. And it just so happened when J started
[8] going with her, the service called again and
[9] said even though your time had expired, you
[10] have paid us two hundred dollars so we're
[11] going to allow you to reopen it if you stil]
[12] want to use it. So [ said okay, fine.

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[13] it? The thing where you sign up for the homes

[14] or the apartments in Florida and you actually

[15] become, i forget exactly what you call it.

[16] You actually pay for the apartment and you

[17] actually -- it's a name for it and | forgot

[18] what it is. You actually pay for the

[19] apartment and that way you can fly back and

[20] forth to Florida and you will always have the

[21] apartment when you get down there and they

[22] would try to sell it fo you. They wouid try

[23] to sell it. So you would get a deal if you at

[24] least allowed them to try to sell you the

[25] apartment.

: Carl G. Sokolski
Official Court Reporter

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[13] So we went. We went to
[14] Florida, had a good time. We went for a week
[15] at Universal Studios and Walt Disney. This is
[16] what other couples do. They go on vacation.
[17] After that, | knew that:she
[18] actually, | have a girlfriend with a child on
[19] the way. | wanted to basically make more
[20] money. | knew I had to make a better career.
[21] So | started looking for other work, other
[22} work to provide for her and my son. And also,
[23] we knew we were going to get married and we
[24] just had to get around to it, but | wanted to
[25] get married before the child was actually born

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(iy Johnathan Robins - direct lt] Johnathan Robins - direct

[2] because | did not want my child to actually be.
[3] born out of wedlock. That's one thing | ,
‘4] definitely did not want. And because |

[5] wanted, like, because like this is what we

16) wanted. We wanted, like, I've seen a lot of

17] families where you have children by —

13) MR. STACKOW: Objection to

[9] this, Your Honor.

[10] THE COURT: Well, overruled. *

[11] You can continue. You've seen a lot of

[12] families, you were explaining.

[13} THE WITNESS: With children who

[14] would have different fathers and different

[15] mothers. And what | liked about her is she

[16] didn't have any children, | didn't have any

[17] children, and we wanted us to have a family

[18] with us and that's what it was going to be,

[19] you know, with us and our children.

‘When | took a specific job —

[21] oh. Also, | want to introduce again into

[22] evidence the, because my license, my driver's

[23] license was actually messed up, tickets in

[24] Jersey. So | told her that, you know, we’ re

[25] walking, we're catching the bus.: So | hav
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[2] car in the garage. It's no sense in it

[3] sitting there. So you need. I told her. It

[4] was my idea. You need to go get your license

[5] so | could put my car in your name so we can

[6] drive, because | didn't want my wife actually ~
[7] walking when I had a car in the garage.

iB] Can we introduce this into

[9] evidence, the application she did for her

[10 driver's license?

[11] THE COURT: Do you have a copy

[12] of that already?

[13] THE WITNESS: Well, he saw it.

[14] | don't have it.

[15] MR. STACKOW: If it's the one

[16] that was introduced yesterday.

[17] THE WITNESS: Yeah, but | never

[18] introduced it.

[19] MR. STACKOW: Yes, | do.

[20] THE COURT: Was it already

[21] marked in evidence?

MR. STACKOW: No, it wasn't.

[1] Johnathan Robins - direct

[2] COURT CRIER: It’s marked D-
[3] Your Honor.

[4] THE WITNESS: Okay. ‘D- 1.

[5] Okay. And it was my idea to get the license, |
[6] but like | said again, she was nineteen. She
[7] went down there and she actually took the test
[8] but didn't pass the test, you know. So on
[9] this paper, she's down here as born in 1986,
[10] July thirtieth, 1986. It has her signature
[14] and it has a signature of the officer inside
[12] the Department of Motor Vehicles.
[13] Okay. Again, back when !| was
[14] looking for another job, | found a good job.
[15] After going through many different jobs, |
[16] found a real good job wherein which this job,
[17] if you stayed there, followed the rules,
[18] normally within two years you can make like
[19] three figure salary. But it's a very hard
[20] job, a lot of turnover, but you can't miss
[21] days, you know. It's selling FiOS, the FiOS
[22] job. You actually go out in rain, snow,
[23] whatever temperature, late into the night, six
[24] days a week. That's what you do and you build
i25] up a team and you eventually branch off into
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rown ffice:o e you have saved up enough
enough people on your team.
‘Before.| took the job, | asked
15] her permission. You know, I'm going to be
[6] working six days a week, you know. ['m not
[7] going to be here. And so | took the job and
[8] because in prospects of working for a good
[9] hard two years while she gave birth to the
[10] baby, she stayed home, she fake care of if, .
[11] and at the end of those two years we will be
[12] making good money, you know. So it's just
[13] that she had to basically accept the fact that
[14] | would not be home while | did this job.
[15] When it came around to January,
[16] like | said, we decided to go ahead and get
[17] married. | had went on ahead and ordered the
[18] airline tickets to go get married. The reason
[19] why | decided fo get married in Missouri, the -
[20] Jaw in Missouri is exactly the same as in the
-1(21] State of Pennsylvania. The only difference is
[22] you can waive the three-day waiting period.
[23] And this job that ] had, you could not take
[24] off days, but | was going to take off one day
{25] and one day only to get married.

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’ Johnathan Robins March 12, 2010,
“Page 25 Page 26
[1] Johnathan Robins - direct [1] Johnathan Robins - direct
2] Now, when | looked, | was [2] be out one day because | was trying to get a

[3] seeing where could | go for us to have a

[4] vacation and just, you know, where she can
[5] enjoy this one day, make it special that we're
[6] getting married, because | couldn't, you know,
[7] take off or have any kind of celebration.

[8] Let's go on vacation, get married and come
[9] back home.

[10] So | went to work one night,

[11] came home, got up early the next morning. We

[12] went. We got married in Missouri. After we

[13] got married we went around, saw all the

[14] sights, the arch, you know, stainless steel

[15] with a little bit of rust on it. We enjoyed

[16] ourselves in St. Louis. The same way we

[17] enjoyed ourselves in Florida, we enjoyed

[18] ourselves in St. Louis. That's why | actually

[19] picked going out there.

[20] Now, there was another state

[21] that had a no waiting period where | could do

[22] it in one day. Well, this state had a no

[23] waiting period. Well, | actually wanted a

[24] vacation and | might have actually done it

[25] here, but it’s, just that | just needed to o
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* 3 [40]

[3] higher or better position in the job. And

[4] even she said that one day she wanted, she

[5] begged me to stay home but J did not. | mean,
[6] it really hurt me-to go, to not stay with her

[7] but actually go fo work, because | wanted to

[8] build my team so-that we can get more, you

[9] know, a better position.

But in January, at the end of

[11] January, before the baby was born, it was time

[12] fo do taxes. Since, you know, I|.got married,

[13] let's go ahead and do our taxes. That's when
[14] Ericka came out with, you know, you can't put
[15] me down on your taxes and this is where Ericka
[16] starts her crying, which she does from time to
[17] time. I'm like, why? You know, it took a

[18] while for me to get it out of her, but she was

[19] not the age she actually was. So it was a

[20} long conversation, a long conversation. Why?

_ [21] You know. For what reason? A lot of crying. ©

[22] And she explained that, you know, she really
3] wanted to be away from her mother and away
from the situation that she was actually in.

to tell me, you know, that
)Kolski :
Reporter

[1] Johnathan Robins - direct
[2] her mother abused her and ail that. So’sh
[3] did not want to be there and this is whi
[4] wanted. | was like, okay, okay, we'll just’®
[5] talk about it. But you know that we have to
[6] eventuaily straighten this out, you know,
[7] because there's a problem here, obviously.
[8] It's definitely a problem here.
[9] - So | went back to work and |
[10] worked until she gave birth. When she gave
(11] birth | was actually, she was home with her
[12] mother and she gave birth and | was getting
[13] ready for work and she woke me up, like, you
[14] Know, I'm giving birth. So | went on ahead,
[15] got dressed. Instead of going to work | went
[16] to the hospital. | went to the hospital and
[17] she had the baby in twenty minutes.
[18] And, like, our child was born
[19] with pneumonia. He's inside the incubator, So
[20] she told the nurse because like we wanted to
[21] see him, she told the nurse that this is my
[22] uncle, like she said before. | said no, no,
[23] I'm not the uncle, I'm the actual father. |
[24] gave them my ID and was like, you know,
[25] because the reason why I'm getting a little

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or. At that point I didn't
ell my:family:he was born because | didn't
[5] Know if he was going to live. .
(6] So like | said, | told the
[7] people who | was. Ericka didn't want to tell
[8] them | was the father. | told them | was the
[9] father because | did, I felt | did nothing
[10] wrong. And the investigation, like she said,
[11] the midwife went on ahead and went back to her
[12] mom and started the investigation.- They
[13] started the investigation because | told them
[14] exactly what went on.
[15] She stayed with her mother for
[16] a little while affer that, and that's when I
[17] started having to find out and research the
[18] law because I wanted to know were we really
[19] married or not because, you know, I took an
[20] oath and it was important to me. And so |
[21] started. There's the Jenkins Law Library.
[22] Obviously | had to quit the
[23] job, the job that | wanted to stay on for us. .
[24] | hadn't planned on quitting it but | had to
[25] quit it because now | got to take care of the

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1] Johnathan Robins - direct

[2] baby and she has to go to school. So after

[3] the baby was born, | quit my job and started

f4] taking care of my son. Then Ericka started

[5] going to school. First she was living with

*[6] her mom. Then she moved back with me. That's

17] when she, that's when Tyra went down there and

[8] picked up her things. She wanted to move

[9] back.

[10] | looked at the law and from

[11] what | could see, we were married. I read

[12] Pennsylvania law. | read Missouri law. I'm

113] like, okay, fine. But when she moved back, it

[14] was like because her mom was always arguing.

[15] She said she was abusive. But I'm like, look,

[16] you got to go fo school. I'll work, I'll take

117] care of the baby, you got to go to school.

[18] Then she started getting into

[19] because it was like a different mindset. She

[20] started worrying about, like she said before,

[21] like, | acted differently. | didn't realize |

[22] was acting different toward her. But she

[23] would be mad because she said | wouldn't want

[24] to touch her, ! wouldn't want to hold her, you

125] know. | didn't know what. | actually didn:
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1] Johnathan Robins - direct

[2) Know what to do with her at this point in:

[3] time, you know. And she said that, you know,
14] | didn't want to hold her, | didn't want to

[5] touch her, you know. She said, it was like

is] she was crying, like she was saying like she
[7] was dirty or something. | didn't want her to

[8] feel that way.

[9] So, but after that, that's when

[10] she started dating other guys, I guess,

[11] because, you know, | wasn't, you know, with
[12] her. She stayed there but 1 wasn't with her,
[13] you know. And at some point in time after she
[14] finished the school year living with me in

[15] Philadelphia, because it was a long hike. It
[16] was a long hike from Philadelphia to go to
[17] Upper Darby for her every day and that's not
[18] fair for her. So we came to the conclusion
119] you need to move back with your mom.

[20] Oh. One other thing. During

[21] this period of time when she was living with
[22] me, when she moved back with me, we found out
] that because, see, | was trying to get care.

or my son, we found out that her mother was

[1] Johnathan Robins - direct
[2] got on the phone and told the casewo
[3] look, she's staying here with me and we
[4] our son. ws
[5] 1 did not, like she said, | did
[6] not meet her mom until after the baby was

[7] born. And once she told me how old she was

[8] and when [| saw her mother, I'm like, oh, boy,

[9] you know. What could | say? | couldn't say
[10] too much of anything. But she allowed her
[11] daughter to move back but only after we called
[12] to get the check cut off is only when her
[13] mother showed up at my front door trying to
[14] kick it in because she wanted the baby back.
[15] Again, past that into the
[16] summer, we agreed, Ericka and I, we agreed
[17] that it's best, you need to move back in with
[18] your mother. 1 know you and your mother have
[19] your problems, but you need to grow up and do
[20] you and let me take care of the baby. So she
[21] moved back and when she did start the new

122] school year, | would go in the morning,

[23] depending on when | worked. Sometimes |

[24] worked late at night and early in the morning.
{25] Sometimes | would come straight from work and

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Id:go to school. Then later on
y.that Right ftérnoon or night, depending on
| what | was doing or what she was doing, |
i would drop him off. And this went on for like
[7] maybe like three, three months.

[8] One of the things, because then

[9] when she moved back in with her mom she
[10] started to stop going to school again, because
[11] when she was with me, when | first met her in
[12] 2007, she wasn't going to school and I didn't
[13] know she wasn't going to school because she
[14] wasn't going to school, and when she moved
[15] back with her mom she started getting into the
[16] habit again of not going to school. That's

-1117] when she said, you know, she said | would call

[18] her and ask her why you not going to school.
[19] And when | came that day and
[20] they wouldn't give me my son and they called
[21] the cops because they think I'm going to hang
[22] out here, the main, one of the main reasons
[23] why | stayed out there is because I| knew that
[24] they were going to call the police, you know,
[25} and | just wanted a report that I'm here

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[1] Johnathan Robins - direct . [1] * Johnathan Robins - direct a

[2] picking up my son so that they wouldn't be

[3] able to say that, oh, no, he was never taking

[4] care of his son. That's one of the main

[6] reasons why | wanted to come out. | knew |

[6] wasn't going to get him that day because they

[7] had him. And again, | knew the issue was

[8] going to have to be sorted out anyway

[9] regardless, you know.

[10] So they came and they said, _

[11] okay, you got to pick him up some other time.

[12] No problem. So J left and then | guess in

[13] December of, in December of 2000 -- no. Back

[14] up. In November. In November, November

[15] eleventh exactly, as again | was taking care "

[16] of my son, taking him to the health center,

[17] giving him all his appointments. They had

[18] been trying to get health care to put him on

[19] CHIP. They got to the point where they said

[20] we're not going to service your son any more

[21] at Health Care Center Six until you get health

[22] care for him. So we went into the little

[23] room, called up Keystone, because they found

[24] out that my son was on, the reason why |

[25] couldn't get it, because she still had him,c
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[2] Keystone on welfare in Upper Darby and

[3] Keystone would not allow me to switch it to
[4] Philadelphia so my son could get health care
[5] and only her mother, Lucille Freeman, could
[6] deal with the health ‘care.

(7 So [| went on November eleventh

[8] down to Welfare in Upper.Darby with my son.
[9] I'm like, look, I'm the one taking care of the
[10] boy. He needs health care. They're like,

[11] well, no, she has him. So the next Monday —
[12] I'd like to introduce this into evidence -- |

{13] filed a complaint for custody in Philadelphia.

[14] COURT CRIER: It's marked D-2,
[15] Your Honor.

[16] THE WITNESS: | filed a

[17] complaint for custody in Philadelphia court.
[18] THE COURT: Just one second,
[19] Mr. Robins. Do you have a copy of this?
[20] MR. STACKOW: I'm not sure if |

121] do or not.
122] THE WITNESS: Yeah, I gave you

3] a copy. | specifically gave you a copy.
COURT CRIER: It's marked D-2,

5]: Your Honor:

[1] Johnathan Robins - direct
[2] THE WITNESS: Wherein whichior
[3] this complaint, it was issued wherein whic!
[4] would have to come to court, Lucille Freémanh
[5] would have to come to court and Ericka Johnson
[6] would have to come to court in front of a
[7] judge. Again, | knew that the issue of age
[8] would have to be dealt with, but my wife lied
[9] to me about when she first met me and so | did
{10} not think, you know, she would say anything
[11] different. | think, | thought that she was .
[12] going to tell them, look, | lied about it to .
[13] him and, you know, he found out later. That's
[14] what | thought. | mean, I'm the one that
_ [15] actually first set up,a date for all of us to
[16] be in court in front of a judge over this
[17] issue, you know, and | did not think that my
[18] wife would say anything different. That's why
[19] | filed it.
[20] The date that we were supposed
[21] to be in court on February twenty-fifth, |
[22] never made the date because obviously my wife
[23] had me arrested and neither one of the, the
[24] order inside the case was dismissed because
[25] nobody showed up. They didn't show up. |
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ike:l.said before, | never ran

5] from the issue. I never told anybody anything

[6] different, you know. | always told everybody

[7] what my age was and who my wife was and who my

[8] son was, you know. | went to court to try to

[9] bring us into court to resolve the issue in

[10] Family Court about the issue about him,

[11] because | did not think my wife would say the

[12] things she said inside this case when |

[13] decided to file this custody case to bring us

[14] ail in front of a judge.

[15] Again, | also have a letter —

[16] 1 don't know what this exhibit, | guess D-3 —

[17] to show that because a worker inside Health

[18] Care Center Six, he wrote up a letter.

[19] MR. STACKOW: Objection to

[20] this, Your Honor. .

[21] THE COURT: What's the basis of

[22] the objection?

[23] MR. STACKOW: The letter is not .

[24] in evidence at this point. He shouldn't be ~

[25] allowed to read from it. a

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-o. . _ Page 37 ‘ Page 38
[1] Johnathan Robins - direct / Oe [1] Johnathan Robins - direct
2] ’ THE COURT: All right. Well, [2] Mr. Robins,
[3] do you want to take the letter and show it to [3] THE WITNESS: The letter
4] the DA? , [4] basically says that this letter is to verify
[5] MR. STACKOW: Thank you, Your ‘| (5) that Johnathan Robins, Sr., has been seeking
- [6] Honor. [6] Medical attention for his son, Johanathan
[7] THE COURT: Do you have acopy ~ [7] Robins, Jr., at Philadelphia Department of
[8] of this already? — [8} Public Health Center Six since his birth, you
[9] MR. STACKOW: I don't believe [9] know, and the letter is dated December
[10] so, Your Honor. [10] thirtieth, 2008.
[11] COURT CRIER: Marking it D-3, [11] | was going to use that letter
[12] right? [12] In the custody case to show that | was the one
[13] — THE WITNESS: Yes. , [13] who actually had him. And I would have never,
[14] - COURT CRIER: Showing it to the [14] like, whatever Welfare, whatever they get
[15] Commonwealth. [15] didn't bother me. It's just the fact that |
[16] . MR. STACKOW: I'd just ask for [16] couldn't get health care for my son when | had
[17] a copy, if | could be provided with a copy of [17] him is why | actually took this route of
[18] that at the appropriate time. It doesn't need [18] the —
[19] to be right now. [19] THE COURT: Mr. Robins.
[20] THE COURT: That means whenever [20] THE WITNESS: Yes.
[21] you get a chance. | [21] THE COURT: Can | just remind
[22] MR. STACKOW: Right. [22] you what we talked about yesterday?
[23] COURT CRIER: D-3 has been THE WITNESS: Yes.
[24] shown fo the witness. . THE COURT: And that is that
[25] THE COURT: You can continue ou can introduce anything you want, as long
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[1] Johnathan Robins - direct ? an R - direct
[2] as it's relevant. arti 1en. she was under a certain
[3] THE WITNESS: Okay. 2 ed at this case is all about.
[4 THE COURT: The fact that you HE-WITNESS: Okay.
[5] wanted a son, that you named your son after : THE COURT: So you're going to
[6] you, that you wanted to care for your son, all . [8] have to confine your testimony to relevant
[7] of that is irrelevant to the charges here. [7] matters.
[8] What you're charged with is getting that son [8] THE WITNESS: Yes, sir.
[9] by impregnating a fourteen year old and there [9] THE COURT: Anything you want
[10] are five offenses here. They all have to do [10] to tell the jury is fine, but it has to be
[11] with her age, the fact that she was under [11] relevant to these charges. Okay?
[12] eighteen for some of these crimes, under [12] THE WITNESS: Yes, sir.
[13] sixteen for some of these crimes. Itisa [13] THE COURT: All right.
[14] defense if you had a mistake as to her age. [14] THE WITNESS: Also, back again
[15] But those are the only issues that are really [15] to 2007 when | first met Ericka and | wanted
[16] relevant to these charges. [16] her fo get to know my family and friends, you
[17] THE WITNESS: Yes, sir. [17] Know. This is my new girlfriend. So we went
[18] THE COURT: So the jury is not [18] to my sister's wedding reception in Atlantic
[19] going to be asked at the end of the trialto =” [19] City so that she can meet everyone. She told
[20] decide whether you're a good person or a bad [20] everyone at the reception, well, the people,
[21] person, whether you're a good father or a bad , [21] the few people that | heard her speak with,
[22] father. None of that has anything to do with [22] that she was nineteen. People are going to
[23] this case. They're going to be asked to find [23] ask. You know, Ericka said that, you know,
124] facts as to your age, her age, whether you had i{24] people did ask. Look, my mom, my dad, my
725] intercourse, whether you had sexual acts with (25) sister, you know. My sister flew all the way
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[1] Johnathan Robins - direct : {1] “ Johnathan Robins - direct .

[2] from Paris to have the reception. She going [2] a lot of people, like when the officer ~

[3] to ask, like, who are you and how old you are, (3] THE-COURT: So in three years
[4] you know. Ericka told her she was nineteen, [4] she hasn't gotten any older looking. ‘
[5] you know. , 15] THE WITNESS: No. She looks °
[6] THE COURT: Well, why would — . [6] the same.

[7] those people ask her that? Are they asking . [7] THE COURT: All right.

[8] her that because they're looking at her and [8] THE WITNESS: Because like when

[9] she looks like she's fourteen years old and [9] the officer came up and to arrest me on

[10] they're trying to figure out what she's doing [10] February, he didn't know how old she was until

[11] at the wedding with you? | mean, why are they [11] she told him. So the same way with a lot of

[12] asking her what her age is? . i[12] jobs that she gets, you know. .She fells them

[13] THE WITNESS: Well, because my [13] that she’s an older age and that's how she got

[14] sister asked, she looked kind of young. My [14] the job at Dynamite Hair or whatever, you

[15] sister even said that. I'm not even going to [15] know.

[16] say. My sister said -- well, that's hearsay. [16] But we were introduced to

[17] THE COURT: Well, did she look [17] everybody because, you know, your friends and

[18] young or not? [18] family is supposed to see if there's a probleni

[19] THE WITNESS: Yeah. She looks [19] with your girlfriend or your prospective mate.

[20] how she looks now. She does. [20] Nobody, nobody, no red flags went up anywhere

[21] THE COURT: When she was _ |[21} with anybody, you know. So it was like she

[22] fourteen did she Sook like she was fourteen? 1122] got the approval. Everybody was happy with

[23] THE WITNESS: No, not really, 3] Ericka and everybody accepted her at nineteen

[24] because | know a lot of people that look in the family, you know. So, you know, that's

[25} She looks how she looks now. She Joo you know. Like | said,

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[1] Johnathan Robins - direct
[2] the family, like, they accepted it. | «
[3] accepted it. But later on, | eventually
[4] to tell my sister what her age was because
[5] when {| got locked up, my mother was sick and !
[6] had to tell my sister, look, | can't care for
[7] mom any more because, like | said, my sister
[8] lives in Paris and | had to tell my sister how
[9] old she was in February of 2009.
[10] And after she had told me what
[11] her age was in 2008, it was like | didn't, it
[12] was hard for me to tell people, you know. |
[13] told Ericka: You told these people how oid
[14] you were, you made the mess, you clean it up,
[15] you know. You tell these people, you know. |
[16] was embarrassed, | guess.
[17] And | just, | didn't offer it. Like Tyra
[18] said, she didn't know how old she was. |
[19] didn't offer it because it's embarrassing.
[20] But | knew that | would have to explain myself
[21] in a court of Jaw. That's, you know,
[22] eventually. That's why we're here. That's
[23] exactly why we're here.
[24] Again, | would like to put this
[25] into evidence. This is D-4. He has a copy of

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l was embarrassed.

- direct
ER: It's marked D-4,

THE WITNESS: Is it possible

[6] that the jury could see a picture in here or

[7] what she portrayed her age as? Because this
[g] is a page off of her MySpace Website showing
{9] that she's on it for dating and showing that

[10] she's announcing that she's nineteen and it
[11] has the date of 2009. Even after all this,

[12] she's still putting herself out there as a

[13] nineteen year old —-

[14] THE COURT: May I see it?

[15] THE WITNESS: — female.

[16] THE COURT: Do you have a copy
[17] of this?

[18] MR. STACKOW: Yes, Your Honor. °

[19] THE COURT: Well, at the bottom
[20] of the page, this was printed off of a
[21] computer on 8/15/2009. Is that what you're
[22] referring to?
[23] THE WITNESS: Yes. Yes. .
[24] THE COURT: Okay. Do you have
[25] any objection to that?

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~ Page 45 . Page 46
[1 Johnathan Robins - direct , [1] Johnathan Robins - direct
2] MR. STACKOW: No. [2] the baby and we got married, now she still is.
[3] THE WITNESS: Can | just hand [3] And after I'm locked up, you know, her page
[4] it to them? [4] still, you know, says that she's nineteen even
[5] THE COURT: Do you want to show [5] after all this mess. .
- [6] it to the jury? (6) THE COURT: Well, didn't you
[7] THE WITNESS: Yes. [7] say that when she went down to get her license
[8] THE COURT: Mr. DeFino? You [8] she gave her birth date as 1986? °
[9] can give it to juror number one and let him J [9] THE WITNESS: Yeah.
[10] pass it down.. You want the jury to see what, {[10] THE COURT: Well, if she gave

[11] Mr. Robins?

[12] THE WITNESS: The fact that
113] Ericka again, you Know. ~
[14] THE COURT: At the top of the

[15] page there's a photograph and it has her age
[16] as nineteen?

[17] THE WITNESS: Yes.
[18] THE COURT: Okay.
[19] THE WITNESS: And that's like

[20] the favorite age she wants to tell everybody.
[21] She's been telling everybody she's nineteen.
[22] Obviously, she had to say that she was twenty
[23] when her birthday came around. But that's

- [24] what, you know. Even after we, you know had .

[25] the baby and she then lied to me and we:
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[11] her birth date as 1986 and she did that in

" {[12] what, 2007? 2008?

{13] THE WITNESS: Yeah, but see --
[14] THE COURT: She was

[15] misrepresenting that she was twenty-one,
[16] twenty-two, right?

[17] THE WITNESS: Yes.

[18] THE COURT: Well, the document
[19] speaks for itself. Her testimony was that a

[20] lot of people have her password and she hasn't
[21] put anything on that in a long time.

22] THE WITNESS: But she also has

23] pictures of the new guy that's her boyfriend
j-and it's listed on the back page. There's a

[3] there. | actually met the guy that's on th
[4] back page, if you flip back. | actually met’
[5] him because | wanted to find out where in the.
[6] world you got my son at, you know.

mY (Evidence circulated among the
[8] jurors.)
[9] THE COURT: You know, if your

[10] back becomes a problem just let us know and
[11] we'll let you take a break. Okay?

[12] AJUROR: Okay. | have a

[13] pillow.

[14] THE COURT: Okay.

[15] COURT CRIER: D-4 has been
[16] published to the jury, Your Honor.

[17] THE COURT: Mr. Robins, what
[18] else?

[19] THE WITNESS: Okay. It's not

[20] too much else, | mean. The facts are what
[21] they are. The only issue is, you know, does
122] she put herself out there as a different age
[23] when she meets people? You know.
[24] ’ ‘That's about the end of my
[25] testimony. I'm going to let him. If you have
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2 Page 48
of athan Robifs - cross

( me, then you go ahead and
teVer you need to ask me, ~

HE SOURT: Any cross
?

5] examinati

[6] MR. STACKOW: Yes. May I?
7 THE COURT: Sure.
[8] CROSS EXAMINATION

[9] BY MR. STACKOW:

(10) =. Did she get a driver's license

[11] or learner's permit when she went down in June
[12] of 20077?

[13] A. It was stamped. The lady
[14] signed her name. But she didn't pass the
[15] test.

[16] Q. So she never got. Were you
[17] there for that?

(18) A. Yes.

(19) Q, You actually went down with
[20] her; is that right?

21] A. Yes, | did.

[22] Q. And Ericka, this was for a
[23] learner's permit; is that right?

[24] A. Yes.

[25] Q. Not a driver's license, just a

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[1] Johnathan Robins - cross
[2] actual Carolina ID, [ do not recall.
3B] Qa This was after your sister's
[4] wedding reception, correct, when she wer own:
[5] to get her Jearner's permit?

[6] A. Yes.

[7] QQ. And it was at that point, as

[8] you said, that your sister and other family

[9] members had been asking Ericka how old she

[10] was?
1] OA. Yes.
(127 @Q. And you knew that when she went

[13] down to get her learner's permit she produced
[14] some photo ID; is that right?
115} A. | don't know ifit was. | know
[16] that she produced a Social Security card. |
[17] don't know if she produced that photo ID, |
[18] can't remember.
[199 Q. Did you ask her to see whatever
[20] she produced fo get her learner's permit so
[21] you could see how old she was?
[22] A, No, not really, because | --
23] @  It'sasimple question,
[24] Mr. Robins. Did you ask her at that time to
[25] see her identification that she was using to

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did-you know she was using a
15] South Carolina identification?

je) «OA; Yes, at some point, because

[7] obviously we got married with it.

[8] Q. And as His Honor said, that has
[9] a date of birth of July the thirtieth, 1986,
[10] correct?

[11] A. As Your Honor said?

[12] Q. The judge, Judge Cunningham,
[13] the person whose courtroom you're in. He
[14] asked you a few minutes ago, isn't it true
[15] that this identification has a date of birth
[16] of July thirtieth; 1986?

[17] A. Which? | mean, which

[18] identification? We haven't —

fig] Q. Was there more than the south
(20) Carolina one?
21] A, The paperwork has the

[22] identification, has the birth date on it. But
[23] the identification, we don't have that unless
[24] you do, unless Ericka gave it to you. It
[25] hasn't been produced.
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51CR00034302009 ‘
Johnathan Robins March 12, 2010'
“Pagé 49 ~ . SO Page 50
[1] Johnathan Robins - cross [1} - Johnathan Robins - cross”
[2] learner's permit. [2] that right?
[3] =A. | guess, yeah. If you ‘get a [3] A. No.
[4] learner's permit, then a driver's license, [4] -Q. You didn't go to Broad and
[5] yeah. [5] Spring Garden to the check cashing place —
fe] Qa Well, -- (6) (A. No. Maybe one of the other
[7] #A. Yes. [7] guys —
3] @. Simple question. Learner's 3) «Q. Excuse me. Let me finish my
[9] permit is what she went — [9] question first. You didn't go to Broad and
[io] «=A Yes. [10] Spring Garden to the check cashing place fo
{11} Q. - what this is an application [14] get this fake photo ID for Ericka?
[12] for; is that right? [12] A. No.
[13] A. It's a Class C autmotive, yeah, [13] Q. So when she went down to get
[14] learner's permit. Absolutely. [14] her learner's permit in June of 2007, you were
(is) Qa. And she never got the learner's [15] aware that she was using that identification
[16] permit. [16] as proof of her age; isn't that right?
[17] A. No. [17] A. | can't remember exactly what
(1373 Q. That's your testimony, right? [18] identification she pulled out with it, to be
[19] A. That's correct. [19] honest with you. | know that you have to
[207 QQ. You in fact were aware of this . [20] have.. | do remember she had her Social
[21] photo identification that she had from South [21] Security card. In fact, whatever other
[22] Carolina, correct? 22] identification | actually don't remember
. 23] A. Yes. 3] because, you know, she approached the lady.
-f24) Q. That's because you went with But | do remember she had to look for her
[25] her to get this photo identification; isn't i
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Johnathan Robins . .. March 12, 2010
. * . Page 53 : Page 54
[1] Johnathan Robins - cross [1] Johnathan Robins - cross
2 a Well, you've seen it when you , [2] sexual intercourse with Ericka?
[3] got married, right? That's your testimony? [3] «OA. Yes.
4) OA. Yes. [47 Q In March of 2007?
5B a That was a South Carolina photo 4B) OA. Yes. .
- [6] identification, correct? . fe) Q That was vaginal sexual
OA. Yes. . [7] intercourse; is that correct?
[ a An it had the birth date of Bi OA. Yes.
[9] July thirtieth, 1986, correct? Oo fs} a You also.at some point had oral
(io) «OA Yes. Yes. | believe it did, [10] sex with Ericka; isn't that right?
[11] yes. , [1] A. Yes.
(127 Qa So at the time that you met, [12] Q. Where you placed your penis
[13] that would have put her at twenty years of [13] inside of her mouth, correct?
[14] age; isn't that right? On January first of (14) A. Well, that was, she wanted to
[15] 2007, if that was her correct date of birth, [15] try a bunch of things. That was the only time
[16] she would have been twenty years of age; isn't [16] we actually did that. It was more of the
[17] that right? [17] other way around.
fis] A. At January first, 2007, it "4 gs} She told you that she wanted to
[19] would make her twenty? That's what you're [19] try a bunch of things? Is that what she said
[20] asking me? [20] to you?
7214) Q Yes. [21] A.- Well, she didn't. Yeah. Yeah.
[22] A. | would actually have to do the . 1122) She actually, how can | put it? | can't

] remember the exact details, you know. | can't
‘emember the exact details. But she was
tually, she-wanted to have a baby. So we

[23] math, I'm going to be honest with you.
[24] Q. All right. Now, let me ask you
[25] some questions here. You said that you:
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Be » . Page 56
[1] Johnathan Robins - cross Robihs - cross
[2] actually were trying to have a baby. 1. : C

[3] think it was coming that quick. She didn
[4] think. But we were actually, so it's not like
[5] | remember every single detail.

[6] Q. Is it your testimony to this

Ow Rnow Ericka's date of
hirtieth, 1992, correct?

[7] jury that she said that she wanted to try a [7] April of 2008 Ericka told you her correct age;
[8] lot of different things in the context of [8] is that right?
[9] having a baby? I] A. January. January.
lio) =A No. : fio) =o, January of 2008?
(117 @ Is that your testimony? [11] A. Just before the baby was born.
12] A. No. 12] @Q. All right. And that she told
13] @Q So my question fo you is, is it [13] you she was in fact fifteen, correct?
[14] true or not that Ericka said to you that ~ [14] A. Yes.
[15] that's your testimony -- that she wanted to [15] Q. And then John-John was born
[16] try a lot of things, meaning sexual things? [16] about a month later; is that right?
(i7] A. Noa. She didn't exactly say 7] OA. Less than a month later.
[18] that. What I'm saying is | knew she always lig) =, And at some point you and
[19] wanted fo try different things. She wanted us ' [19] Ericka lived together with your child; is that
[20] to wash up in the tub together. She wanted us [20] right?
[21] to try different positions. She didn't come 2) A. That is correct.
[22] out and just say, you know, let's try . 22} Q. And did you have sexual
123} different things. , . [23] intercourse with her after you and she lived
(24) Q. Your date of birth is March [24] together after John-John was born?
[25] twenty-ninth, 1966, correct? [25] A. Once, twice we tried it, but it
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Johnathan Robins March 12, 2010.”

Page 57 © mG Page 58
[1] Johnathan Robins - cross [1] - Johnathan Robins - cross

[2] was just, that was later on, like in what?
[3] You know. But it just, you know. It just

[4] wasn't.
[] a. When was that?
6) ~A. Maybe like April. I'm going to

[7] be honest with you. Like, when was it?

i] . April of 2008 you had sexual

[9] intercourse with Ericka?

[10] A. Yeah, because | believed she

[11] was my wife now, because | read the law on it
[12] and she --

(13) Q That's not my question.
[14] A. Yes. Yes.
(15) Qa My question is the timing of

[16] when you had the sexual intercourse with her.
[17] =A. Yes.

[13] Q. At some point did you realize

[19] that Ericka was not in fact legally your wife?

[20] (A She is legally my wife.

[21] @. She is.

[22] A Yes.

[23] Q. Let me ask you to take a look

[24] at this complaint for custody that you had
[25] marked as an exhibit.
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-{2]) A Yes.

[3] Q. Do you have that in front of

[4] you?

I) A. Yes, | do.

6} Q. That was dated November of

[7] 2008, correct?

18] A That is correct.

i) Q That you filed this, correct?

(10) =A Yes, but the lady --

(11) Q You gave the information?
(127 A Yeah, and | know exactly what

[13] you getting ready to say. The lady did not
[14] Know. | told her we were married but she put
[15] down unmarried on it because she did not
[16] realize that | could be married to her. |
[17] know exactly what you're talking about.
[18] Q. Let me ask you some questions
[19] so the jury is very clear about what we're
[20] talking about. Okay?
[21] A. Okay.
277 @ This is a document, a court
3] filed document, correct?
A: That is correct.

And:actually there's some pages
Okolski .
Reporter

[1] Johnathan Robins - cross
[2] missing in the copy that you brought t
[3] with you; isn't that right?

[4] A. Yes. so

[5] Q. But the original is something
[6] that you would have had to have signed; isn't
[7] that correct?

(8) =A. That is correct.

i] @ And you're asked to sign it

[10] after reviewing it to make sure everything's
[11] correct; isn't that right?

[12] A. Well, she refused — yes. But

[13] the lady refused to put down that we were

[14] married. The lady actually refused and | just
[15] went on ahead and signed it.

[16] Q. Well, there's actually no

[17] section there to say whether you're married or
[18] not; isn't that right?

[19] A. Well, it says baby born out of
[20] wedlock.
[214] Q. Right. And it says that the

[22] baby in fact was born out of wedlock; isn't
[23] that right? .
[24] A. Well, that's what this document
[25] Says, yes.
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you refuse to sign that

“T5] document?

[e] OA. I did not refuse to sign it.

71 Q In fact you did sign it; is

[8] that right?

[9] A. Because | wanted to go to

[10] court. :

[11] @Q. Because you wanted custody of
[12] your baby.

[13] A Because I wanted —
[14] Q. Because you wanted your son.
[15] A Yes.

fie) =Q Now, it's your testimony to

[17] this jury that you actually researched the
[18] law?

[19] A. Yes.

20) @Q. Of marriage in Missouri and

[21] Pennsylvania and other states?
[22] A.. Absolutely.
[23] Q. And you must have realized then
[24] that a person can't be married in Pennsylvania -
[25] unless they're sixteen years of age; isn't

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Johnathan Robins March 12, 2010
y Page 61 Page 62
[1] Johnathan Robins - cross 1] Johnathan Robins - cross

[2] that right?
[3] A. No, that is not correct.
f4) @ You didn't realize that.
[5] A. Here, you can look at it
- {6} yourself. In fact, --
Mm a Let me ask you this, Mr.
_(g] Robins. Didn't you realize that in your
[9] research that Missouri allows marriages for
[10] persons fifteen years of age with some sort of
[11] court order?
(i2] A. No. In actuality | --
[13] Q. Did you realize that as well?
(i4) A. Na. In actuality, because |
[15] actually researched the law on that, with
[16] parental consent, with a court order fifteen.
117] And okay. No records shall be authorized.
[18] Under fifteen. However, such license may be
[19] issued. Okay. Yeah, you are correct, with a
[20] court order.
[21] @Q. In Pennsylvania, you actually
[22] have to be sixteen with a court order. Did
[23] you know that?
(24) A. Yeah, but we didn't get a court
[25] order. .
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2] Q. That's because she was only
(3} fifteen in January of 2008; isn't that right?
4] A. That is correct.

5] Q. And you knew that, in fact,

[6] didn't you?

I] A. In when?

8) @Q Before you went to Missouri.
[is] A. No.

fio) = It's your testimony under oath

" 1[14] that you didn't know when you flew to Missouri

[12] with Ericka Johnson that she was only fifteen
[13] years of age?

[14] A. That is my testimony.

15} = Q. All right. So let's talk about

{[16] this trip to Missouri. You said you saw the
[17] arch?

[is] A Yeah.

[19] Q. What city was that in?

(20) A. St. Louis.

21) Q. All right. So why did you go

22] to St. Louis in Missouri?
1 OA Well, because the plane tickets
vere cheaper at that time. So that was part

[1] Johnathan Robins - cross
[2] Q. All right.
[3] A. And Missouri was a good plac
4] Q. Of course, you would have had ‘
[5] to apply for a marriage license ahead of time; .
[6] isn't that right?

i] A No. You can walk in. That's

[8] why. Because, like | said, | only needed, !

[9] could only take off one day. | only wanted to
[10] take off one day. In Missouri, you walk in,
[11] you apply for the license. Then you walk a
[12] block away and get married. No waiting period
[13] at all.
(14). Q So it's your testimony that
[15] that's why you picked Missouri.
(16) A. One of the main reasons.
{177 Q The other reason being the
[18] court order requirement; isn't that right?
[ig] =A No, because the court order
120} requirement is irrelevant because there was no
[21] court order.
[22] Q Now, let me ask you.
23) A. Do you want a copy of Missouri
[24] and Pennsylvania law here? Here itis right
(25] here.

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You printed this MySpace page
[6] out; is that right?
1 A. Yes, | did.
3] @. So you actually were able to
[9] access it enough to print this out?
(io) OAL Well, you don't need a
[11] password, if you can look. Only if somebody's
[12] profile is private would | not be able to get
[13] all that. Her profile was not private.
147 Q So her profile is not private.
[15] You were able to go on there and print all
[16] this stuff out; is that right?
[17] A. That is correct.
[18g]  Q. Was that the way that you
[19] learned that she was saying that she had
[20] another husband?
21] A. Yeah. She got some dude in
[22] there and she didn't even spell it right. She
[23] left the B out.
[24] Q. Well, never mind. You knew
[25] that Ericka was going to school or registered
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[1] Johnathan Robins - cross . [14j ° + Johnathan Robins - cross

[2] to go to school at this time; is that right? 2] @Q. So you didn't take her out

[3] A. At which? Now | know, yes. [3] clothes shopping?

14] In March of 2007. 14) +A. | frequently took her out

Q
(5) A. No.
fe) Q You didn't know that, that she
[7] was registered to go to school at all?

[8] - A. No.

[3] @. What was she doing during the
[10] day?

[11] A. Home.

[12] Q. Home with you or home with her
[13] mom?

[14] A. Yeah. See, a lot of times —

[15] Q My question is simple.

(16) A Yes.

[i77 Q. When you said home, are you

[18] referring to your home or to your mom's home?

[19] A. Yes. When she was living with

[20] me, she was home.

[21] Q. Okay. So she did, however,

[22] tell you that she needed some clothes for,

[23] school around that time of March of 2007;

[24] isn't that right?

25] A. No, that is not correct.
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[5] clothes shopping for all types of clothes.

[6] Like she said, | let her pick what she wanted.

[7] And did | notice a whole bunch of school

[8] clothes? No.

I] QQ. Well, she was picking out khaki
[10] pants, right?

[11] A. She may have picked out

[12] sometimes a khaki pants, but she mainly
[13] dressed in jeans. She would wear jeans all
[14] the time, a lot of times. Her main focus was
[15] buying a Jot of jeans.

fie} Q She picked out a Jot of plain

[17] colored collared shirts too?

118) A. No.

[fi9] Q, Do you ever remember buying any

[20] of those kinds of clothes?

21] A. Not offhand, but | must say I'm
2] pretty sure she did. But | have khaki pants
3] too and | have polo shirts too, so.

_Q@. And you're a forty-four year

[i]. Johnathan Robins - cross
[2] A. Yeah. ;
3) 86a. Now, when you did learn that

[4] Ericka was, according to you, that when yi
[5] learned that she was going to school, you knew
[6] that she was going to school in upper Darby,

[7] correct?

I3]) A. Yes. | found out after we had

[9] our conversation, not that conversation,

[10] because later on we had to get into the

[11] details of everything. We had to set up when
[12] she's going to start going back and after she
[13] had the baby, she needed to go back, which was
[14] like a week or so later, like, you know, you

[15] got fo go back to school.

[16] Q. And it's your testimony that

[17] that's the first time you realized she was

[18] registered to go to school?

(19) A. That is correct.
[20] @. Okay.
[21] A. ‘Andlalso asked her, like, she .

[22] also said that her mother — that's why | .
[23] asked her mother about a fine -- she said her
[24] mother received a fine for her not going to
[25] school in 2007.
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| 1] Q.

. : Page 68
athan:Robihs - cross

i s a person, Ericka,

met her, you had discussed

You had discussed having kids?
17] A. | Yeah, because | did not want
[8] what. Like, on those lines, a lot of people
[9] on the lines for flings and stuff like that.
[10] That's why a Jot of the other people didn't
[11] really interest me. | just picked up on this
[12] rarely that | was on it. But to find someone
[13] that was actually interested in a
[14] relationship, you know. Because that's why
[15] she said she left a lot of her other
[16] boyfriends for, because they did not want the
[17] commitment of it. So that was the main reason
[18] that | was attracted to her. She wanted a
[19] commitment, which a lot of the other females
[20] did not want.
[21] Q. So from March of 2007 to, well,
[22] even from January of 2007 to March of 2007 or
[23] even June of 2007, did Ericka live with you at
[24] your house on North Eighth Street in
[25] Philadelphia?

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“6 Page 69 Page 70
[1] Johnathan Robins - cross [1] Johnathan Robins - cross

[2] A. From January of 2007? [2] go back home to her mother.

3] -Q. Yes. 3] «6. Now, did you ever say, hey,

4] =A. She didn't live with me because [4] I'll go over to your mom's house and talk to

[5] that's when we started dating. It took a

- [6] while for her to actually move in.

7 «6. When did she live with you,
_{8] move in with you?

I] «=A. July. Probably somewhere
[10] around in June, somewhere in that
[11] neighborhood.

112] Q. June of 2007.

[13] A. Yes.

(14) Qa Did she ever stay ovemight at
[15) your house prior to that, moving in?

(16) A Yes.

17] Q Did you ever ask her what she

[18] was doing or where she was going when she
[19] wasn't, when you guys weren't together?
(20) =A. Yes. She said she would, when
[21] before she moved in, she was going back to
[22] live with her mother because she didn't want
[23] to live with her any more because she was
[24] saying, like, her mother was abusive and_
[25] everything. So before she moved in, sh
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[5] her or see what's going on, see if | could

[6] help out?

1] #«(OA; If you want me to explain

[8] exactly how she told me her mother was, | did
[9] not want to deal with such a person. ,

fio} But this was going to be the

[11] grandmother of your children, correct?

[i2} A. One of the things that I

[13] actually wanted too was is that if ] was to

[14] have, how can | say it, a fiancee and a'wife,
[15] 1 did not necessarily want to marry the whole
[16] family on the other side, because ! would keep
[17] my family out of our business. And the fact
[18] that she really didn't like her mother at the

[19] time, you know, that it would just be us, not
[20] me, her and everybody else. That's, you know.
[21] | didn't, you know.

Q. But you wanted fo make sure

] Ericka wasn't like the girls in your

eighborhood j in Philadelphia; isn't that

[1] Johnathan Robins - cross
[2] A. What do you mean? Well, w
[3] spoke. And one of the things when we
[4] about when we first started talking was trust:
[5] So, you know, | mean, if just didn't dawn on
[6] me that all this was going to happen when |
[7] first met her. It just didn't, you know. It

[8] just didn't. This did not dawn on me, trust

[9] me on that.

[ioy «= My question is, you didn't want

[11] Ericka to be like the girls that you described
[12] earlier in your neighborhood in Philadelphia;
[13] is that right?

[14] A. One of the things, like, when |

[15] first met her, she did smoke, drink and she
[16] did do a little weed, but she said she wanted
[17] to stop. So she said it was like if I can

[18] encourage her, which she did stop smoking
[19] cigarettes and weed and alcohol, which she
[20] didn't do like a whole bunch or whatever. But
[24] when she did smoke a little bit, she had to

[22] smoke outside because | don't allow smoking in-

[23] the house. So, you know, the fact that she
[24] wanted to give up some of the things like the
£25] smoking and all, which, like, a lot of other
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‘

know, that's why she had
ide. So it's a lot.

| mean, we clicked. It's hard

[6] to explain, but it's like everybody said. We

[7] just looked so good together. If you were to
[8] see us before all this, | know it sounds real ~
[9] weird, but we actually were two people that |
[10] just seemed, like everybody said, we seemed
[11] like we belonged together, my family, my

[12] friends. They were like dag, it just seems

[13] like you ail --

(147 Q. When they would say those

[15] things, was that before or after they asked
[16] you how old she was or at the same time?

17] A. Well, | guess before or after.
[ig] Q So it wasn't just —
[19] A. | said before or after. |

[20] really can't sit here and say honestly that,

[21] like, somebody asked her age, then said you
[22] all look good together or something, because
[23] they knew she was younger. You could see

' [24] she’s younger. But even though when she told

[25] them that she was nineteen, you know, people
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[1] Johnathan Robins - cross [1] Johnathan Robins - cross :
[2] are like, you know, you're a good guy, you [2] never actually met. We were trying to have
[3] know. A lot of people in our neighborhood [3] her come to the baby shower but Ericka said,
[4] realized that the people that | deal with know [4] you know, she's on drugs, she acts up, so, you
[5] that a lot of guys that's more around her age [5] know, it's not good for her to even be there.
[6] will just sleep with her and leave her and, [e} Did you ever ask her what her
[7] you know, and they felt that | was a good guy, © [7] connection to South Carolina was or if she had
[8] that | would take care of her. [8} any family in South Carolina?
i} =Q. Did your ever meet any of her [9] A. No. In actuality, | asked her |
[10] family prior to going to Missouri? [10] about South Carolina and she said she had
[11] A. No. , [11] moved down there for a brief bit with like her
[12] © Q. You never met in fact anybody [12] dad, then just came back up. Now her dad
[13] related to her prior to then; is that right? [13] lives out in Harrisburg. And that's about all
[14] A. We tried to have. | didn't [14] she really spoke about it.
[15] meet any of her family but we tried to have [15] Q. Let me just ask you some
[16] her sister come to the baby shower that my [16] questions about Tyra Felder. That was the
[17] sister had flew in from Paris to give at [17] person that you had known since she was about
[18] somebody's house in Center City. But she gave [18] four years of age; is that right?
[19] the excuse that her -- you know what? Yeah, | [19] A. That is correct.
{20} did meet a family member of hers. It wasn't 20) @Q. And she would do hair for
[21] an adult family. It was some. She had [21] girls; ts that right?
[22] brought over her nieces and nephews. That's 22) A. Yeah. Because, see, Tyra and
[23] all. Little kids. That's the only technical her both do hair. That's my wife does hair
[24] thing. I actually met her nieces and nephe' nd Tyra does hair.
125} But the mother of the nieces and nephew. And:you paid to have Tyra do

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[1] Johnathan Robins - cross
[2] Ericka's hair; is that right?
[3] A Yeah, because | got tired of
[4] paying a hundred something dollars to all’
[5] these other shops. I'm like, jook, go to
[6] Tyra, Tyra owes me some money, let Tyra do
[7] your hair.
[8] Q. Let me ask you about the
[9] February of 2008 at the hospital. Were you
[10] there when you heard Ericka say that you were
[11] in fact her uncle and not the father of the
[12] child?
13] A, Because when | went to, when |
[14] went looking for her, she had the baby so
[15] fast, she never made it into the delivery
[16] room. She was in the pre room. So that's
[17] where | met her. She was already dressed and
[18] everything. Because like | said, she had the
[19] baby in twenty minutes, just dropped him right
[20] out. And then she said we have to go down and -
[21] see our son. So when we went down, | guess we
[22] Saw some nurses or whatever and she was
[23] telling the nurses, you know, that this is my
[24] uncle. And | told them no, I'm the father of
[25] the child.

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ohnathan:Robihs - cross

es were directing these
ricka or these questions to
-Ericka;is that-right?

] A. Yes. And Ericka lied to them

| [6] and I set them straight, I'm the father of the

[7] child.

[8] Q. And you were right there at the
[9] time?

[10] =A. | was right there.

11] Q It was your testimony that you
[12] and Ericka actually went to the hospital
[13] together?
(14, A. No. She was giving birth. |
[15] woke up. | was going to work. | was going to
[16] work. In actuality, we actually had to do
[17] some training at the Verizon building down
[18] there at Eighteenth and Arch. But when she
[19] called me, she was like -- | just woke up.
[20] She was like, I'm going into labcr, I'm going
[21] into labor. I'm like all right. | got
[22] dressed to go take the baby, take the car seat
[23] to the hospital, and by the time | got dressed
[24] she called me back, the baby's here. I'm
[25] like, what? So | went down there with the car

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[1] Johnathan Robins - cross [1] Johnathan Robins - redirect
- [2] seat. | brought the car seat because you [2] and ready to go. ‘So when | went up to the
13] can't bring the baby back home without a car [3] room, it was just her in that room. It was
\4] seat. And like I said, she was already there [4] just her in the room. And we went down to go
[5] because she gave birth, obviously. [5] see my son.
“fe = Qh And it's your testimony that fe] Q. And you without any hospital
[7] you actually walked down or took an elevator [7] staff or any assistance, you and Ericka just
_[8] down to wherever the baby was with Ericka? [8] went down to see your son? That's your
[9] That's your testimony? [9] testimony?
[io] =A | don't know if the elevator is (10) =A Yes, | believe. There was no
[11] up or down. | can't remember if it actually ~ [11] staff with us. The staff was at the room with
[12] went up or it went down. | actually can't [12] the, because they're at the room with the
[13] remember that. [13] babies in the incubators.
(14) Q. Isn't it in fact true that [14] MR. STACKOW: That's all the
[15] Ericka was still in bed, in her hospital bed, [15] questions | have. Thank you, Your Honor.
[16] when you showed up and the nurses approached [16] REDIRECT EXAMINATION.
[17] her, asking her who you were? Isn't that [17] THE WITNESS: Okay. Since she
[18] right? And that you weren't present when she [18] brought up the issue of marriage, as you know,
[19] said that’s the uncle, that's my uncle. [19] with statutory rape, it says specifically in
f2oq) «OA. No. No. No. Like I said, she [20] the law that it is statutory rape unless the
[21] dropped the baby in twenty minutes. The baby [21] complainant is married. It does specifically
[22] was there before | even got out the house. So *.{[22] recognize that a person can be married at
[23] by the time | got there, she was already 23] fourteen in the State of Pennsylvania, because
[24] dressed and ready to go. She was, yeah f you read specifically in the statutory rape
[25] dropped the baby in twenty minutes, d i st
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[1] Johnathan Robins - redirect
[2] fourteen year old can be married. Do.
[3] to? Can you? Do you question that or?
[4] THE COURT: Mr. Robins, do you
[5] have anything else you want fo testify to?
[6] THE WITNESS: Yes. I'd like fo
[7] put this into evidence. Would | have you read
[8] this law or would J have —
i] THE COURT: You want the law of
[10] annulment? Voidable marriages? What law are
[11] you referring to?
[12] THE WITNESS: Well, see, in
[13] both states, a voidable marriage is a
[14] marriage, if someone misrepresents their age
[15] it's voidable. But the status of a voidable
[16] marriage is valid, a valid marriage. It says
[17] specifically in the paper that even though a
[18] marriage may be entered into by
[19] misrepresentation, fraud, which is fraud,
[20] duress, it can be voidable. But the status of
[21] a voidable marriage is valid and only the
[22] parties, the husband and the wife, can
[23] challenge it. It says it specifically in the
[24] law. Only Ericka and | can challenge. She
[25] never filed for divorce. | never filed for
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llenge our marriage. Yeah, |
ound out, | had fo dig for
‘TSI ‘that. Because | was like, you know, it's not
[6] a commonly known thing.
7] THE COURT: You're referring to
[8] the law in Missouri.
19} THE WITNESS: Yeah. !n fact,
[10] one at the top is Pennsylvania and the bottom
[11] is Missouri, and they both say the same thing
[12} on that issue. And in the Missouri statute,
[13] it says a marriage goes by whatever state it's
[14] actually entered into.
[15] THE COURT: Okay. You can keep
[16] your copy. You can highlight what part you're
[17] interested in and we can discuss whether
[18] instructing the jury on any of itis
[19] appropriate.
[20] THE WITNESS: Okay. Because |
[21] did admit that | slept with her after, you
[22] know, but we were married and | just let you
[23] know that and, you know, | could easily just
[24] sat up here and told you no, that | didn't
[25] Know. So we're going to, like you said,

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[1] [1]

[2] highlight it. [2] over and speak to your lawyer?

[3] Also, just one last thing si so [3] THE WITNESS: Yes, please.

[4] that the jury will realize it. In the State 14] ' (Witness excused.)

[5] of Missouri, without any court -- this is the [5] THE COURT: While you do that,

- [6] state law — without any court order, without

[7] any parental consent, she had to be eighteen,

[8] you know. So it's not like we had to, there's

[9] some special thing about Missouri that's not

[10] the same way here, you know. The same way you
[11] have to be eighteen here is the same way you

[12] have to be in Missouri. But if you

[13] misrepresent your age here or in Missouri, the

[14] exact law applies. There is no legal

{15] difference. There's no deception of going to

[16] Missouri to get married when the same exact

[17] law exists here, you know. Like | said, this

[18] law is something | had to dig for.

[19] Let me think is there anything

[20] else that's relevant so that we can go ahead

[21] and get done. No. If you can think of

[22] anything that might, Mr. McGill, any questions

[23] that you might want to ask. 1 know you're

[24] looking at me, like.

[6] we can take a ten minute break. The jury can
[7] get out of the box. We'll give Mr. Robins an
[8] opportunity to speak to his lawyer.

19] (Jury excused.)

[10] (A brief recess was taken.)

[11] COURT CRIER: Court is

[12] reconvened.

[13] . THE COURT: Before. we bring the
[14] jury in, do you have anything else you wanted
[15] to testify to?

[16] THE DEFENDANT: No. It's just

[17] that I'll have to give this to you for points

[18] of charge.

[19] THE COURT: Yeah, we'll discuss
[20] that. The first question is, is there

[21] anything else you want to testify to?

[22] THE DEFENDANT: No.

THE COURT: Do you have any
other witnesses?

[25] THE COURT: Do you want to g NDANT: No, { guess

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[1]
{2] not. non arguments of counsel
B] THE COURT: Do you have any tnésses, judging the
[4] rebuttal witnesses? , y of-witnesses, judging the
5] MR. STACKOW: No, Your Honor. . +“(5} defendant's testimony, resolving conflicts in
[8 . THE COURT: So I'll bring the j6] testimony, false in one, proof of the date of

[7] jury out. I'll tell them, if you like, you
[8] can tell the jury that you're resting. Is
[9] there an objection to any of the exhibits?
[10] MR. STACKOW: No.
[11] THE COURT: So you can rest and
[12] move for admission of your exhibits in front
[13] of the jury and the DA has no objection so
[14] they'll be admitted. And then, Mr. Robins,
[15] are you ready to speak to the jury?
(16) © THE DEFENDANT: Yes.
[17] THE COURT: As for points for
[18] charge, the DA did submit some proposed
[19] points. ['m going to give them as well as the
[20] standard instructions. Sometimes when | give
[21] a standard instruction, | wind up explaining
[22] it a little bit, so it's not strictly the
[23] standard jury instruction but it's basically
[24] from the book.
[25] I'll instruct the jury on the

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[7] the incident, direct and circumstantial
[8] evidence, the burden of proof, reasonable
[9] doubt, the crimes charged as was proposed by
[10] the DA.
[11] And with regard to Missouri and
[12] Pennsylvania law of marriage, what's the
[13] District Attorney's recommendation?
[14] MR. STACKOW: Your Honor, |
[15] think at this point that the law shouldn't, |
[16] mean, I'm not asking the Court and | would
[17] recommend that the Court not provide any laws
[18] regarding marriage in either Pennsylvania or
[19] Missouri. It's going fo be up to the jury
[20] what if any of that testimony they believe,
[21] and the Jaws in either state aren't going to
[22] help him do that. The marriage issue, whether
[23] it was a valid marriage or not, if they find
[24] it was a valid marriage, they're going to go
[25] off the defendant's testimony. If they think
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[1]

[2] that's lacking, obviously they can consider
[3] that as well. But | don't think that there
rt] should be specific instructions as to what the
15] law is in Missouri versus what the law is in

- [6] Pennsylvania.

(71: THE COURT: And your request is
_{8] what?
12] THE DEFENDANT: I request that

[10] the law actually be explained to them about
[11] marriage, because if they decide to -

[12] THE COURT: Well, I've read

[13} what you have handed up to the bench and in
[14] reading that, | don't know what the Jaw of

[15] Missouri is. That's out of a book. It states

[16] some basic rules. It says that at commonlaw
[17] you could be married if you were between the
[18] ages of twelve and fourteen. | don't know how
[19] that helps you. It says Missouri has a law

[20] with regard to voidable marriages and who can .

121] challenge marriages, but it's inadequate to
[22] give me enough information to tell the jury
[23] what the law of Missouri is on marriage. |
[24] mean, they can consider what you thought the
[25] law was or that you researched the law
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1]

[2] whether you know what the law, whether you
[3] were right about the law or not I don't think

[4] is atissue. What's at issue is what you

[5] described in your testimony. But | don't know
[6] what the law of Missouri is and | don't have a
[7] point for charge with regard fo the law of

[8] Pennsylvania either.

[9] THE DEFENDANT: Well, on the
[10] statutory rape it specifically says ~
[11] THE COURT: It doesn't mean

[12] what you say it means, because you are correct
[13] that every state has fo recognize marriages

[14] that are legal in the state where they were

[15] performed. All they're saying in the

[16] statutory rape definition is that if somebody

[17] is legally married because they got married

[18] someplace else where they could be married,
[19] Pennsylvania would have to acknowledge that
[20] and so for purposes of statutory rape they

[21] could not be prosecuted. They're legally

*s|[22] married under the law of wherever, Arkansas,

] West Virginia.
People who don't have a legal
‘to learn the law by reading

[1] °
12] a law book make all the same mistake hi
[3] you've made so far, and you can't pull
[4] line or one paragraph and say, oh, here itis;
[5] now | know what the law is, because you don't.
[6] And | don't know what the law of Missouri is

[7] either. /

[8] So I'm not going to attempt to

[9] instruct the jury on the law of marriage in

[10] Pennsylvania or Missouri, and you shouldn't
[11] try to do that in your closing argument

[12} either. If you try to do that, I'm going to

[13] stop you. Now, you can argue, if you'd like,
[14] about how you tried to research the law and
[15] what your impression of the law was, but if at
[16] any time you say and the law of Missouri tells
[17] you that, | will stop you. Do you understand?
(18) ° Mr. Stackow is going to speak

[19] for, his estimate is fifteen minutes. I'm

[20] going to impose a twenty-minute limit on each
[21] side with closing arguments. So defense will
[22] have twenty minutes and the DA will have

[23] twenty minutes. Do you understand?

[24] MR. STACKOW: Yes, Your Honor.

25] THE DEFENDANT: Well, | just
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teat | got your

{5] objection. ~

[6] THE DEFENDANT: Okay.

7] THE COURT: Allright. With

[8] that in mind, is everybody all set to go?

[9] MR. STACKOW: Yes, Your Honor.
[10] THE DEFENDANT: Yes.

[11] COURT CRIER: Please remain

[12] seated. Please cease all conversation while
[13] the jury enters the courtroom.
[14] (Jury summoned.)
[15] THE COURT: Mr. Robins, do you
[16] have anything additional you wanted fo
[17] present?
[18] THE DEFENDANT: No, Your Honor,
[19] | do not. The defense rests. | move for
[20] admission of my exhibits.
[21] THE COURT: Is there any
[22] objection to the admission of the defense
[23] exhibits?
[24] MR. STACKOW: No objection.
[25] THE COURT: All right. Then

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11) [1]

[2] they're: admitted. : .. [2] you'll have eleven other people to discuss

[3] Ladies and gentlemen, we ‘ve now [3] that with.

[4] arrived at the next stage of this case. The | [4] It's unavoidable that during

[5] evidence has been completed. Mr. Stackow
[6] informed us over the break that he has no

[7] additional evidence he wants to present. You
[8] don't have any rebuttal.

[9] MR. STACKOW: That's correct, .
(10) Your Honor.
[i4] THE COURT: So the Commonwealth

[12] rests, the defense is presented, and now it's
[13] time for them to make speeches. It's a fairly
[14] short and simple case. There are five crimes
[15] charged but they're simple crimes to explain
[16] and to understand, and I've told each counsel,
[17] Mr. Robins and the DA, that each will have
[18] twenty minutes to give a closing argument.
[19] lf they say anything about the
[20] evidence in this case and it disagrees with
[21] your recollection of what you heard from the
[22] witness stand, you're right and they're wrong.
[23] If you're not sure about the evidence, if you
[24] think, well, gee, maybe a witness did say
[25] something else, when you go back fo del
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[5] speeches people may come in go out. Try not
[6] to be distracted because each side, this is

[7] their last chance to address you. And even

[8] though it's your recollection of the evidence

[9] that controls, what they say is not evidence,
[10] and even though the law comes from me and if
[11] they try to get into discussion of the law and
'|[12] they're wrong, I'll have to correct them,

[13] closing arguments can be valuable to you

[14] because each side has the opportunity and in
115] fact the responsibility to take what you've

[16] heard in this case and present it in a way

[17] that is favorable to their side and help put

[18] some of the evidence together and present
[19] arguments. They may touch upon things that
[20] you haven't thought of. On the other hand,
[21] they may leave out things that you've been
22] sitting there thinking about. You're not
limited by what they argue to you. Eventually
hen you go back to deliberate, you may have
i f the evidence that neither

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[1]

[2] lawyer touches upon.
[3] Because the Commonwealth
[4] the burden of proof, they get to speak set
[5] So you'll hear first from the defendant, then
[6] from the DA. After closing arguments, | will
[7] instruct you on the law and then you'll go
[8] back to deliberate. So, Mr. Robins?

19] THE DEFENDANT: Good morning.
[10] JURY COLLECTIVELY: Good

[11] morning.

[12} THE DEFENDANT: Again, I'm

[13] Johanathan Robins. When | first met Ericka, |
[14] met her on a date line. As she always does,
[15] she tells people that she's nineteen. That's
[16] her favorite age she tells people. She sat
[17] here and said that, told you, the jury, that
[18] no, | don't lie about my age, you know. She
[19] kept on saying, no, ! told him my real age.
[20] And then later on in testimony she says, well,
[21] yeah, | do meet guys online and she don't tell
[22] her right age on the line, later on after she
[23] done told you that she did tell her right age
[24] on the line. And then in a Freudian slip when
[25] | kept questioning her about what did she tell

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, she said, yeah, ! told you
‘u the wrong age. And then
; the wrong name. Then |
+15] ‘backed up ‘and said, you know, what did you say
[6] again? And she admitted in a Freudian slip
[7] that, yes, she did tell me the wrong age when
[8] she first met me on this date line.
[9] Again, she has ID that says
[10} that she's over eighteen. She was employed at.
[11] other places that says she’s eighteen. The
[12] hair place, you know. People might blame me.
113] Well, you should have known she was under
114] eighteen. Well, when she fold people in my
[15] family, they bought it. They believed it.
[16] They trusted her. When she told that hair
[17] service, they trusted her. They thought she
[18] was over a certain age. So sometimes people
[19] are older and actually do look young, you~
[20] Know. But she has ID and she also just tells
[21] people that she is an older age.
[22] She told us that over a long.
[23] period of time she told us that, oh, no, she
[24] didn't tell anybody in my family how old she
[25] was. She didn't say, oh, no, they just didn't

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[1]
[2] know how old | was. Then after | kept on
[3] cross examining her, kept on cross examining
[4] her, oh, yeah, | told Vicky. She told more
[5] than Vicky. She told my mom, my sister,
- [6] Vicky, everybody that she was nineteen.
7] So she also, the MySpace page.
_ [8] It's very interesting after all of this, after
[9] all this, that she knows she lied to other
[10] people. She knows that I'm going through a
[11] trial about her representing her age. She's
[12] still on her MySpace page. Now her favorite
[13] is saying that she’s nineteen. And when |
[14] showed it to her or told her about it she
[15] said, well, other people got my password. But
[16] she didn't act like she was so surprised that
[17] it wasn’t nineteen. | mean, even though other
[18] people have your password, you don't notice
[19] that it says nineteen on your page?
[20] You know, | really do still
[21] care about my wife but | know that she’s a
[22] child and even though she's my wife, it's like
[23] you really can't turn off your emotions. |
[24] guess that's how Ericka, like, with the hair
[25] thing. She tells them the wrong age. She
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[1]

[2] tells them she's eighteen, nineteen, twenty.

[3] She gets in. Now that people like her, get to
[4] know her, down the line, oh, yeah, this is.

[5] your age now. Like when the lady came to her
[6] house, that's when the lady found out what her
[7] true age was. And then she said that, you

[8] Know, she had to go ahead, her mom had to sign
[9] something, even though her mother testified
[10] that she didn't have to sign anything. So |

[11] don't know what really happened, you know.
[12] I, you know, after | found out,

[13] | really had to research the law because

[14] marriage was important to me. It was very
[15] important. I waited a long time to get

[16] married. | had no other children by anybody
[17] else. And the fact that, you know, people

[18] saying that we weren't married, you know, |
[19] did a lot of research on it. And my

[20] understanding of the law, we're married, you
[21] know. So but yet and still, | knew that she

[22] needed to grow up. That's why | decided to
[23] try to take custody of the boy and let her go
jand grow up with her mother, but evidently she

[1] .
[2] As far as when she was livin
[3] with me in 2007, if she's living with me
[4] no one's coming,. it's like why wouldn't the”
[5] mother, you know, say like where is my

[6] daughter at? Where is my daughter staying

[7] nights? You know, | didn't think that she

[8] was, you know, that age because nobody was
[9] coming to my door. The only time when her
[10] mother came to my door is when, like | said,
[11] we got the check cut off and | got the baby
[12] back. That's the only time she came fo the
[13] door. Other than that, she was fine with
[14] Ericka being wherever she was because | was
[15] providing food, housing, shelter, clothing,

[16] whatever, because that meant that all the

[17] money that the mother had on welfare for

[18] Ericka she could just pocket herself.

[19] - But other than that, | did not

[20] know how old she was until after we got

[21] married and were about fo have the baby and
[22] the whole world just changed. The whole world
[23] just changed in one minute, and all the plans
[24] we had before were now scratched off. Where
[25] we were working, you know, now it's like I'm

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the.baby and she's going to
‘hot what | thought was going
1en.we was going through this

| did not know how old she was
[7] until then. I did not intend to hide or
[8] disguise who | was at any, point in time. |
[9] filed for custody knowing that we had to come
[10] to court in front of a judge and it would have
[11] to be explained and that it's no way in the
[12] world that | thought that my wife was going to
{13] say anything different than I lied to him, you
[14] know, he found out later, I'm sorry. I would
[15] have never. Why in the world would | file for
[16] us to go to court if she was going to say
[17] something different, say the things that she
[18] said up here? That's why | filed. | mean, |
[19] did not think that those words were actually
[20} going to come from her. You know, the person
[21] she is now is not the person | married. It's
[22] like it's two different people, you know, and
[23] it's like she's really changed.
_ 124] As | said before, I'm not
[25] guilty of the sexual assault because | did not
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[1]

[2] know. It was a mistake of age. | did not

[3] know. You know, if | knew, you know, we

[4] wouldn't be here because she'd have been gone

[5] from the gate, you know. But my family took

[6] her in. My family loved her, you know: And .

[7] eventually, you know, they found out: And now

[8] she have to go back to hers.

19] Me personally, hopefully you'll

[10] see that | told the truth and hopefully you'll

[11] see that all the stumbling and fumbling and

[12} contradictory evidence that they were saying,

[13] that maybe, you know, they weren't exactly as

[14] truthful with you as | was. So I'm closing

[15] saying that I'm innocent of these charges and

[16] hopefully you will find me innocent of these

[17] charges, you know. Thank you very much.

[18] THE COURT: Mr. Stackow?

[19] MR. STACKOW: Thank you, Your

[20] Honor. May it please the Court. Mr. Robins

[21] and Mr. McGill. Ladies and gentlemen, good

[22] morning to you as well.

[23] JURY COLLECTIVELY: Good

[24] morning.

[25] MR. STACKOW: I'm not going
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11)

[2] take the a allotted twenty minutes. There's
[3] no need to do that. You folks have heard

[4] everything that we've heard and we've all

[5] noted that you've paid attention throughout
[6] the last few days. And I'll repeat what |

[7] said the other day, that at the end of this ~

[8] case the material facts really aren't going to
[9] be in dispute and you know that now.

[10]. We know Ericka’s age, that she
[11] was fourteen when she met the defendant’and
[12] that he was forty years old, that they had a
[13] child together born on February twentieth,
[14] 2008, little John-John now, and that atthe .
[15] time that Ericka became pregnant, that she was
[16] still fourteen and the defendant was still

[17] forty years old. In Pennsylvania that's a

[18] crime. That's statutory sexual assaulf when
[19] there's that age difference, and the law as
[20] His Honor will instruct you says that the age
[21] difference just has to be four years, not, you
22] know, twenty-six years as in this case.

So I'm not going to take up all

e time but ! want to repeat a few things

[1]
[2] touch on a couple of things that he may,
[3] about in giving you his law, giving you the
14] law of Pennsylvania, that is. The fact tha
[5] I'm not going to go over all the evidence, you ©
[6] folks should consider the things that !
[7] mention, the things that I don't mention and
[8] reasonable inferences to be taken from that.
[9] A lot of times and really what
[10] you may find during your deliberations is
_ [11] you're being asked to get inside the
[12] defendant's head. What did he know? What
[13] should he have known and when should he have
[14] known it? And there's no way that evidence
[15] can be presented about that. It's almost a
[16] form of circumstantial evidence. In this case
[17] you're going to have to make reasonable
[18] inferences from the facts that you've heard
[19} from both sides to tell you and exactly figure
[20] out what the defendant knew or what he should
[21] have known and when he knew those things. And
[22] | think if you do that, if you apply the law
[23] that His Honor will instruct you and you use
[24] your common sense, it will be clear to you
[25] that the defendant knew or certainly should
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icka was underage.
s5:been some talk about a
mistake’of age; and it's not simply enough

[5] that the defendant testifies that, well, |

j6] thought she was of age, | thought she was
[7] eighteen, nineteen or twenty and then that's
[8] it. It's got to be a reasonable belief. It's

‘| [9] got to be a belief that would be reasonable

[10] under all the circumstances.
[14] And it's interesting to note
[12] how many people, how many times when Ericka
[13] came into contact with people, her age was an
[14] issue. And it seemed to be an issue to
[15] everybody but the defendant. Everybody was
[16] asking or everybody was curious. The
[17] defendant's turning a blind eye fo that, if
[18] not willfully knowing that she was underage,
[19] shows you that any belief that he had and his
[20] testimony isn't reasonable and should, |
[21] submit, if you use your common sense and all
[22] of the facts, take that off the table right.
[23] away.
[24] So what | want fo next talk
[25] about is some things that His Honor will

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[1] . [1]

[2] instruct you in a little bit, and ‘it's really [2] through. .
[3] witness credibility. How do you judge [3] The one incident in particular

[4] credibility of witnesses? The judge will read
[5] an instruction that lists a number of factors
- [6] about how to judge the credibility of
[7] witnesses, but they're really all borne from
[8] Our Common sense and understanding of human
“[9] nature and how we interact with people, and it
[10] kind of boils down fo the credibility of
[11] witnesses is their accuracy and believability,
[12] and that's what | want to take next ten
[13] minutes or so to talk about.
[14] Let's talk about the testimony
[15] of Ericka Johnson. Obviously when | spoke to
[16] you yesterday | described her as a young lady
[17] now that made some very bad and immature,
[18] unsophisticated decisions when she was
[19] fourteen, beginning with being on that chat
[20] line in the first place. But what! want to
[21] talk to you about her testimony is these
[22] images, that during the course of her account
[23] of being with the defendant, how she was able
[24] to visually or almost visually give you a
[25] visual image of exactly what she was g
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[4] that I'm speaking of is the first time that

[5] she had sexual intercourse with Mr. Robins,

[6] with the defendant. Think back to her

[7] testimony. And the judge is, some of the

[8] points that the judge will say is the body

[9] language or demeanor of a person and their
[10] ability fo recall specific events. In other

[11] words, the more detailed testimony is, the

[12] more detailed people talk about things in the
[13] past, the better their credibility is. The

[14] more likely they're able to, they're speaking
[15] from an experience that they went through, not
[16] something that they're making up.

[17] So think back to that testimony

[18] when Ericka is describing the time that she's
[19] over at the defendant's house in March of

[20] 2007. And, you know, she's got the maturity
[21] that, the experience of three years now on her

[22] so she can describe it a little bit better,

] but at fourteen years of age she's not sure
what's going on. She's not sure exactly what
nts, what he's doing, how to

[1] -
[2] respond. Not to say that she's resistin
[3] not consenting in the legal sense, but
[4] scared and she's confused and she doesn
[5] what exactly is going to happen step by step ©
[6] by step.

7] Think of her describing being

[8] in this man's bedroom by themselves. It's

[9] dark. She's sitting on his lap and he begins
[10] touching her chest over the clothes and it
[11] makes her uncomfortable, you know. The
[12] defendant talks to her, convinces her fo have
[13] sexual intercourse. And like a fourteen year
[14] old girl would do or somebody underage,
[15] somebody immature, she describes to you
[16] exactly what she does. She takes off her

[17] close and hurries into the bed and pulls the

[18] sheet over her. And the defendant's response
[19] is, Why don't you let me see you? Why don't
[20] you let me see your body? And Ericka's

[21] description of what happened next. That's not
[22] just Ericka recounting what was going through
123] her mind in this terribly confusing, what must
[24] be terribly confusing event fo her, but that's .
{25] also stuff that the defendant was present for. .

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=vidence that you can use.
na girl acts like that,
when’she reacts that way, when she's told you
[5] already that she's fourteen on the chat line,
[6] when you don't know her family, when you
[7] haven't seen any ID, you don't know where
[8] she’s going, you've got an obligation there.
[9} You better find out. And you can't just come
[10] in here and say, well, | thought she was
[11] nineteen because she fold me she was nineteen.
[12] Confronted with those kinds of circumstances,
[13] we know better and your common sense tells you
[14] better. He should have known, and if he
[15] should have known, then his belief is not
[16] reasonable.
[17] So even just the details that
[18] Ericka is able to relay about their first _
[19] conversation over the telephone, how she said
[20] that she was fourteen to him and his response
[21] was, well, that's okay, | believe women should
[22] be treated no matter what their age equally,
[23] and exactly the words that she was able to
[24] recount. That's something from personal
[25] experience. That goes to show you that her

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11]

[2] account of that initial phone conversation is

[3] believable, is credible. It's accurate and

[4] it's believable, and therefore you should find

[5] that that testimony is credible.

[6} And compare that to the

[7] defendant's account. You know, when he gets"

18] up on the witness stand and he's talking about

[9] this, it's almost like he's giving this social

[10} networking profile of people that he’s looking

[14] for. And, you know, his character, what

[12] exactly his thinking is, starts to become a

[13] little clearer throughout the course of his

[14] testimony and all the other evidence of what

[15] we now know. This is a man that was looking

[16] for somebody that he could isolate, that he °

[17] could convince and talk to and control to the

[18] point of doing exactly what he did to Ericka.

{19] It’s almost like in his own delusional mind

[20] he's created some sort of perfect little

(21) family and he needed an immature person to be

’ [22] able to do that, and to Ericka's great

[23] unfortune, she was the one that happened fo be

[24] on the line that day.

[25] - _ So listen to His Honor’s

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[1] °

[2] instructions on the law, listen to-his

[3] instructions on the credibility of witnesses,

[4] and it will become clear to you that the

{5] defendant knew. He knew exactly what he was
[6] doing. He controlled the situation from the

[7] very beginning, from that phone conversation
[8] to the time out to dinner. This is a man that

[9] wanted to get married and have children but
[10] yet never did anything fo find out about, you
[11] know, Ericka's family, and that's because

[12] that's the way he wanted it. He wanted

[13] someone that he could easily isolate and

[14] manipulate. That's exactly why we have these
[15] laws to protect children from these decisions
[16] that we know kids will make in Pennsylvania.
[17] This is a tragic case, really.

[18] For Ericka Johnson to have gone through what
[19] she did just because this man wanted some
[20} delusional family fantasy life of his own is

[21] really a tragedy.

22] Now, his fate after the

verdict, that's obviously what His Honor will
onsider. There's lots of things that go into

at. That's othing that you folks need to

[1]
[2] be worried about. Your job at this poi
[3] to figure out the facts, who do you believe
[4] who don't you believe, what parts of their:
[5] accounts do you believe, what parts you don't
[6] believe, and apply it to the facts or apply it

[7] to the law, excuse me, that His Honor will

[8] give you. And in this case, the law is very

[9] clear. ,

[10] As | mentioned yesterday

[11] morning, there's five criminal charges that
[12] have been brought against the defendant. Two
[13] that are probably most similar sounding and
[14] will be during the judges instruction are

[15] involuntary deviate sexual intercourse and

[16] statutory sexual assault. To prove the

[17] defendant guilty of those charges, we the

[18] Commonwealth have to show beyond a reasonable

[19] doubt that he was or that Ericka was less than
[20] sixteen at the time that they had sexual
[21] intercourse, that he was more than, four or
[22] more years older than she, and that they were
[23] not married at the time of the sexual
[24] intercourse.
[25] For involuntary deviate sexual

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hat the oral sex is
on; the oral sex versus the
fal sex applies to the
5] ‘involuntary eviate sexual intercourse and the
[6] vaginal sex to the statutory sexual assault.
{7] Now, unlawful contact with a
{8] minor. As His Honor will instruct you, that
[9] means that if the defendant being an adult
[10] contacts in any one of a number of ways,
[11] including on the telephone chat line, somebody
[12] who's less than eighteen for the purpose of
[13] engaging in a sexual offense, in this case
[14] underage sex with a minor, that person is
[15] guilty of that charge. And you'll note that
[16] in the instructions on that charge, there
[17] isn't any of this talk about a reasonable
[18] belief about an age, and that's really because
[19] we recognize as a society and the law that
{20] it's on the obligation of the adult to
[21] affirmatively do that, to affirmatively know
[22] exactly the age of these persons, you know,
[23] somebody that you're contacting with.
[24] Now, corrupting the morals of a 2
[25] minor and interference with the custody of a .
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1]
[2] child, those are more broadly based type of
(3] crimes. But as | mentioned yesterday morning,
[4] the interference with custody of a child has
[5] nothing to do with Johnathan and John-John.
- [6] This case isn't about his custody. It's not
[7] about his child support or welfare benefits.
[8] It's about him, the defendant, taking Ericka
“[9] away from her mother. It's not a forced
[10] taking. It's not a kidnapping type taking.
[11] It's an enticement or in any way creating a
[12] situation where he lures her away from the
[13] custody of her mother.
[14] Now, | want to wrap up by
[15] talking about the interest and the motivation
[16] in this case. That's one of the factors that
117] His Honor will instruct you about credibility.
[18] Does somebody have an interest or motive to
[19] testify one way or the other? And in
[20] particular, the defendant. He'll give you a
[21] specific instruction that the defendant has a
[22] motive, an interest in the outcome of the
[23] case, and that you can consider that in
[24] evaluating his credibility.
[25] You can also consider the
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[1]

[2] interests and motives of both Ericka Johnson
[3] and her mother. This wasn't their idea. This
[4] wasn't where they wanted to be. Ericka and
1 [5] her mother, | would submit, wanted anything

| [6] else other than to be in this situation. And

[7] even on February eleventh, 2009, when they

[3] called the police, Ericka didn't run up to the

[9] police and say he raped me, he's too old, I'm

[10] too young. It wasn't anything like that. She

[11] just wanted to get her child back. They ©

[12] weren't looking to get the defendant locked

[13] up, as he says, or anything like that. It was

[14] the police officers just realizing exactly how

[15] the age difference was that caused them to.

[16] arrest the defendant.

[17] Even the defendant's own

[18] witness, Mr. Michael Ward, the Delaware County
[19] public assistance caseworker for Miss Freeman,
[20] clearly said that there is no, any evidence of

[21] anything but that Lucille Freeman and Ericka

22] Johnson were anything but honest and above
board in all his dealings with them over the

[1]
[2] all of that evidence, it's clear exactly wh
[3] was going on. And just because the de
[4] says he thought Ericka was eighteen or
[5] nineteen or twenty, you've heard the
[6] discrepancies in how really that's not even
[7] reasonable for him to believe it, but just
[8] because he says it doesn't mean you have to
[9] accept it.
[10] Just because we're here, just
[11] because there's a trial, doesn't mean that
[12] somebody's got facts or evidence to dispute.
(13] He's got a right to, a constitutional right to
-[(14] a trial by jury and he's exercised that right.
[15] So be it. We've given him that trial. We
[16] presented our witnesses. They've testified in
[17] front of you after taking an oath, and they
[18] testified credibly. Now it's your obligation
[19] to weigh that evidence and apply it to the
[20] law. If you do that, | think it will become
[21] clear that maybe still in his own mind, in his
[22] own deluded mind, he thinks he did nothing
[23] wrong. Maybe, and it's even come out in his
[24] closing arguments and part of his testimony,
[25] he still wants Ericka back. He still, he
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ything but call her his wife.
Be e.t6 say Mr. Robins,
[4];6nouigh is enough. You shouldn't have been
15] Messing with that girl in the first place.
[6] You can't get up on this witness stand and
[7] foo! us. You knew better. You certainly .
[8] should have known better. And you are guilty.
19} Thank you very much, ladies and
[10] gentlemen. Thank you, Your Honor.
[11] THE COURT: All right. Ladies
[12] and gentlemen, if you'd like fo take a break,
- {[13] let me know and we can do that. Otherwise
[14] I'll go just go right into giving you my
[15] instructions. | don't see anybody asking for
[16] a break. You will lock the doors, nobody in
[17] and out of the courtroom during the Court's
[18] instructions.
[19] COURT CRIER: Yes.
[20] THE COURT: If anybody wants to
[21] leave the courtroom, you have to do that now.
[22] It still won't eliminate the possibility that
[23] the sheriff will come in through the side door
[24] or somebody will come in through the back
[25] door, but.

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[1] [1] -
[2] The Pennsylvania Supreme Court [2] such. However, in deciding the case, you

[3] has a committee and that committee's job is to [3] should carefully consider the evidence in

[4] write up proposed instructions, jury [4] light of the various reasons and arguments

[5] instructions. It's lawyers and judges and [5} each lawyer presented fo you. Now, when I say

{6} people trying to make complicated concepts . [6] each lawyer I'm including the defendant, Mr.

[7] simple to understand so that people like [7] Robins, because he was his own lawyer in this

[8] yourselves, who don't work in here every day, [8] case. So I'm not leaving him out. I'm

[9] can be informed on what the Jaw is in an easy {91 including him in the term lawyer.

[10] to understand way. Actually, when I was [10] It is the right and duty of

[14] practicing law, a lot of times I would pull [11] each lawyer to discuss the evidence in a

[12] down the standard jury instruction to look up -[12] manner that is most favorable to the side that

[13] the law, because it is easy to understand. [13] that lawyer represents. You should be guided

[14] Because they've gone fo all [14] by each lawyer's arguments to the extent that

[15] that trouble, I'm going to read their standard [15] they are supported by the evidence and insofar

[16] instruction to you, and | know that can be [16] as they aid you in applying your own reason

[17] boring. Actually, if | put my mind to it, | [17] and common sense. However, you're not

[18] could make it really boring. Ill try not to [18] required to accept the argument of either

[19] do that. !'ll try to from time to time talk [19] lawyer. Jt is for you and you alone to decide

[20] fo you like this so we're actually [20] this case based on the evidence as it was

[21] communicating and explain things to you along [21] presented from the witness stand and in

[22] the way that | think need an explanation. {22] accordance with the instructions I'm now going

[23] As I've told you already, the 3] to give you.

[24] speeches of counsel are not partofthe . So if what the lawyers said to

[25] evidence and you should not consider the ‘ou makes sénse, then use it. If you think it

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[1]
[2] was just a bunch of hot air, disregar
[3] It's really, the decision in this case is”
[4] really up to you and your reception and
[5] interpretation of the evidence and this law as
[6] | explain it fo you.
[7] You should not decide this case
[8] on the basis of which side presented the
[9] greater number,of witnesses or the greater
[10] amount of evidence. Instead, you should
[11] decide which witness to believe and which
[12] evidence to accept on the basis of whether or
[13] not the testimony or evidence is believable.
[14] In deciding which of several witnesses to
[15] believe, it is proper for you to consider
[16] whether or not the testimony of each witness
[17] is supported by other evidence in the case.
[18] However, you should recognize
[19] that it is entirely possible for a single
[20] witness to give truthful and accurate
[21] testimony and that his or her testimony may be
[22] believed even though a greater number of
[23] witnesses of apparently equal reliability
[24] contradicted him or her. The question for you
[25] to decide, based on all the considerations I'm

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now, is not which side
iSt?evidence but instead which
jou:believe. ,
The testimony of Ericka, the
{6] complainant in this case, standing alone, if
[7] believed by you, is sufficient proof upon
[8] which to find the defendant guilty in this
[9] case. The testimony of a victim in a case
[10] like this need not be supported by other
[11] evidence to sustain a conviction. Thus, you ©
[12] may find the defendant guilty if the testimony
[13] of Ericka convinces you beyond a reasonable
[14] doubt that the defendant is guilty.
[15] Every case, this case included,
[16] has two kinds of evidence, direct evidence and
[17] circumstantial evidence. You've heard the
[18] term circumstantial evidence in the past.
[19] It's used outside of courtrooms.
[20] An example of circumstantial
[21] evidence that is often given is suppose
[22] yesterday, yesterday afternoon, you went to
[23] the movie theater and when you went into the
[24] theater it was a sunny day and a couple of
[25] hours later you came out and when you came out

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[1] [1] .

{2] you saw that windshield wipers were going on ‘| [2] what happened when the witness wasn't there to
[3] some of the cars, people were putting down [3] see it.

[4] umbrellas, the ground was all wet. That would (4 Whether or nof circumstantial

[5] be an indication or circumstantial evidence
- {6} that while you were in the theater it had
Tr] rained.
[8] So let me explain as the
“[g] committee explains it. On the one hand, there
[10] is direct evidence, which is testimony by a -
[11] witness from his or her own personal knowledge
[12] such as something that he or she saw or heard.
[13] The ‘other type of evidence is circumstantial
[14] evidence, which is testimony about facts that
[15] point to the existence of other facts that are
[16] in question.
[17] So if a witness comes in and
[18] says when | went into the theater yesterday it
[19] was a bright sunny day, everything was dry
[20] outside, the sun was shining; two hours later
[21] | came out of the theater, here's what I saw,
[22] all of that is direct evidence, what the
[23] witness says they experienced. But that
[24] description of what the witness saw after
[25] coming out is also circumstantial evide
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[5] evidence is proof of the other facts in
{6] question depends, in ‘part, on the application

[7] of common sense and human experience. You
[8] should recognize that it is sometimes

[3] necessary to rely upon circumstantial evidence
[10] in criminal cases, particularly where the

[11] crime was committed in secret. In deciding

[12] whether or not fo accept circumstantial

[13] evidence as proof of the facts in question,

[14] you must be satisfied, first, that the

[15] testimony of the witness fs truthful and

[16] accurate; second, that the existence of the

[17] facts that the witness testifies to leads to

[18] the conclusion that the facts in question also
[19] happened.

[20] So you have to believe him when

[21] he says it was sunny when he went in. You

22] have to believe him when he describes what he
23] saw when he came out. And then you have to
j,conclude that that inference that it rained

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[1] .
i I've been telling you since yol
[3] first came into this courtroom that it's y
[4] job to find the facts, and that all depends’
[5] making a decision on credibility of the
[6] witnesses. As judges of the facts, you are
[7] the sole judges of the credibility of the
[8] witnesses and their testimony. This means you
[9] must judge the truthfulness and accuracy of
[10] each witness's testimony and decide whether to
[11] believe all or part or none of that testimony.
[12] The following are some of the:
[13} factors that you may and should consider when
[14] judging credibility and deciding whether or
[15] not to believe the testimony. These are all
[16] things you're going to recognize as things you.
[17] do in every-day life. But this is a reminder
[18] not to leave your common sense outside the
[19] courtroom, that the judgment that you're
[20] making is a common-sense, every-day kind of
[21] judgment that you always make, but now you're
[22] doing it as a juror in this case.
[23] So you would ask yourself, for
[24] example, was the witness able to see, hear or
[25} know the things about which the witness

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low ‘well could the witness
describe the things about which

[6] describe those things affected by youth, old
[7] age or any physical, mental or intellectual
[8] deficiency? Did the witness testify in a
{9} convincing manner? How did the witness look,
[10] act and speak while testifying? Was the
[11] testimony uncertain? Was it confused? Was it
[12] self-contradictory or evasive? Did the
[13] witness have any interest in the outcome of
[14] the case, any bias, prejudice or other motive
[15] that might affect their testimony? How well
[16] does the testimony of the witness fit with the
[17] other evidence in the case, including the
[18] testimony of other witnesses? Was it
[19] contradicted or supported by the other
[20] testimony, by the other evidence? Does it
[21] make sense?
[22] If you believe some part of the
[23] testimony of a witness to be inaccurate,
[24] consider whether the inaccuracy casts doubt
[25] upon the rest of that witness's testimony.

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[1]
[2] This may depend on whether the witness has
[3] been inaccurate in an important matter or a
[4] minor detail or any possible explanation. For
[5] example, did the witness make an honest

[6] mistake or simply forget, or did the witness
[7] deliberately falsify? .

[8] While you are judging the

19] credibility of each witness, you are likely to
[10] be judging the credibility of other witnesses
[14] or evidence. If there is a real,

[12] irreconcilable conflict, itis up to you to

[13] decide which if any conflicting testimony or
[14] evidence to believe.

(15} As sole judges of credibility

[16] and fact, you, the jurors, are responsible to
[17] give the testimony of every witness and all
[18] the other evidence whatever credibility you
[19] think it deserves.

[20] If you decide that a witness
[21] deliberately testified falsely, not a mistake,
[22] but if you think that somebody swore fo tell
[23] the truth, got up on the stand and told you a
[24] lie and that lie is about a material point, .
[25] that is, about a matter that could affect

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[1] J
[2] outcome of the trial, you may for that reason .
[3] alone choose to disbelieve the rest of that

[4] witness's testimony, but you're not required

[5] to do so. You should consider not only the

[6] deliberate falsehood but also all other

[7] factors bearing on the witness's credibility

[8] in deciding whether to believe other parts of

[9] their testimony.

[10] The defendant took the stand in

[11] this case as a witness. And remember, early
[12] on, | explained to you that no matter what the
[13] witness's job, no matter what the witness's

[14] title, you have to evaluate every witness.

[15] That's true even where the witness's title is

[16] defendant. He has a right not to testify but

[17] if he gets on the stand and he testifies, then

[18] he gets evaluated just like any other witness.
119] So all of the things that I've told you about

[20] evaluating a witness apply to him as well as

[21] everybody else. You should not disbelieve the
22] defendant's testimony merely because he is the
defendant. In weighing his testimony,

wever, yOu ey consider the fact that he has

{1]
12] You may take the defendant's interest.intc
[3] account just as you would the interest of a
[4] other witness along with all other facts ari
[5] circumstances bearing on credibility in making
[6] up your minds what weight his testimony —
[7] deserves.
18] Now, in general terms, how do
[9] you deal with conflicting testimony? I mean,
[10] if one witness says | told him 1 was fourteen
[11] and the other witness says she never told me
[12] she was fourteen, how do you deal with that
[13] or any other conflict in any of the evidence?
[14] Where there is a conflict in the testimony,
[15] the jury has the duty of deciding which
[16] testimony to believe, but you should first try
[17] to reconcile, that is, fittogether any
[18] conflicts in the testimony if you can fairly
[19] do so. Discrepancies and conflicts between
[20] the testimony of different witnesses may or
[21] may not cause you to disbelieve some or all of
[22] their testimony.
[23] Remember that two or more
[24] persons witnessing an incident may see or hear
[25] it happen differently. Also, it's not

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itness to be innocently
er recollection of how
something happened. -
5] If you cannot reconcile a
[6] conflict in the testimony, it is up to you to
[7] decide which testimony, if any, to believe and
[8] which to reject as untrue or inaccurate. In
[9] making this decision, consider whether the
[10] conflict involves a matter of importance or
[11] merely some detail and whether the conflict is
[12] brought about by an innocent mistake or by an
[13] intentional falsehood. You should also keep
[14] in mind the other factors already discussed
[15] which go into deciding whether or not to
[16] believe a witness.
[17] In deciding which of
[18] conflicting testimony to believe, you should
[19] not necessarily be swayed by the number of
[20] witnesses on either side. You may find that
[21] the testimony of a few witnesses, even of just
[22] one witness, is more believable than the
[23] opposing testimony of a greater number of :
[24] witnesses. On the other hand, you should also .
[25] consider the extent to which conflicting ,
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[1]
[2] testimony is supported by other evidence.
[3] When the Commonwealth moves fo
74] trial, they have a paper. It's called an
[5] information. Sometimes it's called a bill of
- [6] information, a bill of indictment. But it's a
[7] list of what charges are in the case and it's ©
[8] a notice of what the trial is going to be
“ [9] about. The bills of information in this case
[10] allege that the crime was committed between
[11] 2007 and 2008 on diverse dates. And in some
[12] instances there may be a reference to
[13] specific, the specific date of February first,
[14] 2007. But each charge then states on diverse
[15] dates between 2007 and 2008.
[16] You are not bound by the date
[17] that's alleged in the information. This is
[18] just a notice to the defendant so he
[19] understands what the time frame is for these
[20] acts that have been alleged. Itis not an
[21] essential element of the crime charged. You
[22] may find the defendant guilty if you are
{23] satisfied beyond a reasonable doubt that he
[24] committed the crime charged in and around the
[25] dates charged in the information even th
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[1]

‘[2] you're not satisfied that he committed it on a

[3] particular date.
[4] So the fact that witnesses were
[5] not able to say here's what happened on
[6] February seventeenth and then on March
[7] twenty-ninth this is what we did and on June
[8] the second, even though you don't have that
[9] kind of specific date, that's not an essential
[10] element of the crime.
[11] I'm going to give you the
[12] definitions of the crimes charged, and before
[13] | do that I'm going to give you an overall
[14] instruction as to things we've already touched
[15] upon a little bit, the presumption of
[16] innocence, the Commonwealth's burden, and the
[17] meaning of reasonable doubt.
[18] A fundamental principle. of our
[19] system of criminal law is that the defendant
[20] is presumed to be innocent. The mere fact
[21] that he was arrested and accused of a crime is
] not evidence against him. Furthermore, the
| defendant is presumed innocent throughout the
24j:trial and unless and until you conclude, based

[1]
[2] evidence, that the Commonwealth has pro’
[3] guilty beyond a reasonable doubt. Itis no
[4] the defendant's burden to prove that he i
[5] guilty.
[6] Now, there is an exception to
[7] that and I'll explain the exception when we
[3] get fo the definitions of these crimes. There
[9] is a defense of mistake of age, and you'll see
[10] the difference when I get to that explanation
[11] of that defense.
[12] It is the Commonwealth that
[13] always has the burden of proving each and
[14] every element of the crime charged and that
[15] the defendant is guilty of that crime beyond a
[16] reasonable doubt. The person accused of a
[17] crime is not required to present evidence or
[18] prove anything in his or her own defense,
[19] except with regard to the defense of mistake
[20] of age. If the Commonwealth's evidence fails”
[21] to meet its burden, then your verdict must be
[22] not guilty. On the other hand, ifthe
[23] Commonwealth's evidence does prove beyond a
[24] reasonable doubt that the defendant is guilty,
f25] then your verdict must be guilty.

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14]. : not mean that the
15] Commonwealth must prove its case beyond all
[6] doubt and to a mathematical certainty, nor
[7] must it demonstrate the complete impossibility
[8] of innocence.
[9] That part about mathematical
[10] certainty, there are some things in life that
[11] we expect to be proven to a mathematical
[12] certainty. If you do your taxes and you make
[13] a mistake on the math, the IRS will
[14] immediately call that to your attention
[15] because they expect you to be right to a
[16] mathematical certainty.
[17] If you hire somebody to design
[18] a bridge, he's going to put together a design. -
[19] He's going to give you all the calculations
[20] and then you're going to be able to take that
[21] and give it to somebody else and get another
[22] engineer to give you their opinion, and he's
[23] going to check to make sure that it works out
[24] to mathematical certainty.
[25] What we do in court isn't like

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[1]
[2] that. It isn't like an accounting problem or -
[3] an engineering problem. You have people come
[4] in and testify to something that happened in
[5] the past, and it just doesn't happen with that
[6] kind of certainty.
Therefore, in a criminal case
[8] like this, the burden is proof beyond a
[9] reasonable doubt. And here's what that means.
[10] A reasonable doubt is a doubt that would cause
[11] a reasonably careful and sensible person to
[12] hesitate or be restrained from acting upon a
[13] matter of the highest importance in his or her
[14] own affairs.
[15] A reasonable doubt must fairly
[16] arise out of the evidence that was presented
[17] or out of the lack of evidence with respect to
[18] some element of the crime. A reasonable doubt
[19] must be a real doubt. It may not be an
[20] imagined one, nor may it be a doubt that you
[21] manufacture in order to avoid carrying out an
[22] unpleasant duty.
[23] So to summarize, you may not
[24] find the defendant guilty based on a mere.
[25] suspicion of guilt. The Commonwealth
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| [1]

[2] burden of proving the defendant guilty beyond
[3] a reasonable doubt. If it meets that burden,

[4] then the defendant is no longer presumed

[5] innocent and you must find him guilty. On the
[6] other hand, if the Commonwealth does not meet
[7] its burden, then you must find the defendant
18] not guilty.

(9) When you go out to deliberate,

[10] you will have with you a verdict sheet. It

[11] says Verdict Report, Criminal Case. This is
[12] where you record your verdict. There are five
[13] charges listed here in no particular order.

[14] And in the far column there's a place fora
[15] verdict. You would put in there guilty or not
[16] guilty. So for the first offense, your

[17] verdict would be written in guilty or not

[18] guilty, whichever it is. You'll come back

[19] with a sheet that says guilty or not guilty.

[20] And it could be guilty, guilty, guilty all the

[21] way down or it could be not guilty, not

122] guilty, not guilty all the way down, or it

could be some combination, guilty of some
harges, not guilty of others.

It]
[2] as to guilty or not guilty. Only in homi
[3] cases does the jury play any role in ~~ ;
[4] sentencing, and this is not a homicide. In
[5] this case and all other criminal cases, if you
[6] find the defendant guilty, there will be a ,
[7] sentencing hearing at some point and that will
[8] be determined by me. That will not be your
[9] determination. And I'll have more .
[10] instructions for you with regard to the
[11] verdict at the very end.
[12] Now, with regard to these
[13] charges, and I'll just give them to you in the
[14] order that they're on the verdict sheet,
[15] which, as I said, is in no particular order,
[16] unlawful contact with a minor. The defendant
[17] has been charged with unlawful contact with a
[18] minor. To find the defendant guilty of this
[19] offense, you must find that each of the
[20] following three elements has been proven
[21] beyond a reasonable doubt: First, that the
[22] defendant was intentionally in contact with a
[23] minor. ‘Second, that the contact was for the
[24] purpose of engaging in an unlawful act, that
[25] unlawful act being the various sexual offenses

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this case as well as
1é"custody of a child and
inor. Third, that either the

COrruplton OF
4"[5] defendant or the person being contacted is

[6] within the Commonwealth. That's really not
[7] much in dispute. | mean, there hasn't been
[8] any testimony about people living in New
[9] Jersey and calling people in Pennsylvania on
[10] the phone or being on the Internet where we
[11] don't even know where they are. All the
[12] testimony in this case is that whatever
[13] contact was going on on the phone, in person,
[14] was happening here in Pennsylvania.
[15] Contact is any direct or
[16] indirect contact or communication by any
[17] means, method or device, including contact or
[18] communication in person or through an agent or
[19] agency, through any print medium, the mails,
[20] the common carrier or communication carrier,
[21] any electronic communication system,
[22] blah-blah-blah-blah-blah. It certainly
[23] includes the telephone. It would include the
[24] Internet if there had been e-mails or Internet
[25] contact. And it also includes sitting ina

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I]

[2] is all based on age. And if she were:o

[3] then the defendant would be committin

[4] crime only if he forced her to do things that

[5] she did not want to do, that she resisted.

[6] We'd have to get into the meaning of all of

[7] that. None of that applies. So don't be

[8] confused by involuntary deviate sexual

[9] intercourse. And deviate we'll touch upon in

[10] the definition.

[11] A person commits involuntary

[12] deviate sexual intercourse when that person

[13] engages in deviate sexual intercourse with a

[14] child who is over twelve but under sixteen.

[15] Children under twelve, that's a different

[16] crime. This crime is involuntary deviate

[17] sexual intercourse. So the first question is,

[18] is the victim between the ages of twelve and

[19] sixteen? And the defendant is four or more

[20] years older. If you find, | mean, it's really

[21] undisputed in this case. He has told you his

[22] age. Everybody has talked about his age.

[23] He's considerably more than four years older

4] than she was. Under our Crimes Code, such an

{25] offense can be committed by either a male ora
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_of the same or opposite

to find the defendant
15] guilty ‘of this type of involuntary deviate
[6] Sexual intercourse, you must be satisfied
[7 beyond a reasonable doubt that the defendant
[8] had deviate sexual intercourse with the
[9] victim, that the victim was a child older than
[10] twelve but under the age of sixteen, that the
[11] defendant was four or more years older than
[12] the child, and the defendant and the child
[13] were not married fo each other.
114] | know in the course of telling
‘'115] the story, at some point they go off to
[16] Missouri and go through some kind of a
[17] ceremony and that the defendant describes
[18] themselves as, describes himself as being
[19] married to her. But all the activity that
[20] takes place up until that trip fo Missouri has
[21] nothing to do with that last sentence about
[22] that the defendant and the child were not
[23] married to each other. As to activity that
[24] they engaged in after coming back from
[25] Missouri, | don't know if they were married or

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tf] [1]
[2] restaurant across from each other and talking, [2] old she is because every time they look at her
'3] because it's in person. But it has to be [3] they see somebody very young.
14] intentional, so that the defendant was [4] If he did not make unlawful
[5] intentionally in contact with a minor. [5] contact with her on the phone, there's .
~ [6] You're going to have to make a [6] continuing contact, | mean, in the restaurant,
[7] decision at what point he knew that she was a [7] at his place. At what point, at any point,
[8] minor, and a minor is an individual under the [8] did he know that she was under the age of
” Ig] age of eighteen. So you're going to have to [9] eighteen?
[10] decide the credibility of testimony. She says [10] If you find that the
[11] on the telephone, while talking on the [11] Commonwealth has made out all of those
[12] telephone, she told him I'm fourteen, how old [12] elements beyond a reasonable doubt, you must
_ [13] are you? And he said make a list, when we get [13] find the defendant guilty of this charge, —
[14] together I'll answer all your questions. And [14] unlawful contact with a minor. On the other
[15] then when they got together at the restaurant, [15] hand, if they have not made out all of those
[16] she again told him I'm fourteen, and how old [16] elements beyond a reasonable doubt, you must
[17] are you? The defendant says that's not what [17] find the defendant not guilty.
[18] happened, that she consistently misrepresented [18] Next is involuntary deviate
[19] her age. [19] sexual intercourse. They could have come up
[20} So you have to make a [20] with a worse name for this crime. They just
[21] determination. When he spoke to her on the [21] didn't try hard enough. Deviate makes it
[22] phone, he's not looking at her, so her ‘.4[22] sound like something it's not alleged to be
[23] appearance isn't going fo affect that one way 3] and it's involuntary, but as you'll hear from
[24] or the other. That's a separate argument made he definition, voluntariness has nothing to
{25} by counsel, that everybody is asking h e in this case because this
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[7] 1]
[2] not. 1 mean, they described going out there - {2] definition, is deviate sexual intercourse.
[3] and getting a license. She got the license by [3] Deviate sexual intercourse
[4] fraud and clearly the defendant has done alot | [4] includes the slightest degree of penetration
[5] of reading about the law of Missouri. | don't [5] and it is not required that there be any
[6] Know what the law of Missouri is and J don't [6] emission of semen, and | don't recall any
[7] think anybody else has introduced any [7] testimony about an emission of semen,
[8] evidence, competent evidence, about the law of [8] ejaculation, but it's not necessary anyway for
[9] Missouri. The Commonwealth certainly hasn't. [9] the crime to be completed. And there wasn't a
[10] So with regard to involuntary [10] great deal of detail, no embarrassing details
[11] deviate sexual intercourse, let me define [11] about exactly how much penetration took place,
[12] deviate sexual intercourse, because it has a [12] but that doesn't matter because the slightest
[13] particular meaning in criminal law. Deviate [13] degree of penetration, the slightest degree of
[14] is not a value judgment. Deviate is a légal [14] penetration of her vagina by him orally, the
[15] term and it's not the same as deviant, which [15] slightest degree of penetration of his mouth,
[16] often has a negative connotation. Deviate. [16] excuse me, her mouth with his penis, either
[17] sexual intercourse occurs if a man's penis [17] way, that's deviate sexual intercourse.
[18] penetrates the mouth or anus of a person or if [18] Don't let the name of this
[19] the person's fongue penetrates the sexual [19] crime involuntary deviate sexual intercourse
[20] organ of a woman. [20] mislead you. It is immaterial to a charge of
[21] So you had testimony in this [21] involuntary deviate sexual intercourse with a
[22] case about both. You had testimony about him (22) child under sixteen whether the child objected
[23] performing oral sex on her and she performing or resisted or even whether the child
[24] oral sex on him. Oral sex, in case you . nsented. When a child is under sixteen and
[25] haven't figured it out from this convolut
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[1]
[2] consent is no defense.
[3] The defendant may assert the
[4] defense of mistake of age. It is a defense't
[5] a charge of involuntary deviate sexual
[6] intercourse with a child under sixteen that
[7] the defendant reasonably believed the child to
[8] be sixteen years of age or older. The
[9] defendant has the burden of proving this
[10] defense by a preponderance of the evidence.
[11] Accordingly, if the child was
[12] under sixteen and the defendant was at least
[13] four years older, you must find the defendant
[14] guilty unless you are satisfied by the greater
[15] weight of the evidence that the defendant
[16] believed and was reasonable in believing that
[17] the child was sixteen or older. And again,
[18] that goes back to whose testimony are you
[19] going to believe. Do you believe Ericka when
[20] she says from the beginning | told him 1 was
[21] fourteen and we talked about the difference in
[22] our ages? And then the question becomes how
[23] could he reject that? How could he hear some
[24] girl tell him that she's only fourteen and
[25] then still insist on saying, well, | thought
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“sexual assault. Now,

as you-hea this; it will sound like something
5] that you've heard about outside of court. It
[6] will sound like statutory rape, which is a

[7] term that is a fairly common term. This crime
[8] in Pennsylvania is statutory sexual assault.
[9] The defendant has been charged
[10] with statutory sexual assault. To find the
[11] defendant guilty of this offense, you must
[12] find that the following four elements have

[14] that the defendant had sexual intercourse with
[t5] Ericka. Second, that Ericka was a child under
[16] the age of sixteen. Third, that the defendant
[17] was four or more years older than Ericka.
[18] And, finally, that the defendant and the child
[19] were not married to each other. That means
[20] not married at the time of the sexual
[21] intercourse. So any sexual intercourse that
[22] took place prior to the time they went off to
[23] Missouri, marriage is no defense. After they
[24] went off to Missouri, I still don't know if
[25] they're married. The defendant seems to think

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[13] been proven beyond a reasonable doubt: First,

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17
[2] that they are. : :
A3] For purposes of this crime,
14] sexual intercourse has a special meaning and
[5] it's a compound meaning, but one of those
- [6] meanings is sexual intercourse like we all
[7] understand the term, sexual intercourse being ~
[8] the penetration of a woman's vagina by a man's
“ [9] penis.
[10] As described in the elements of
[11] the offense, it is immaterial whether the |
[12] child consented to the intercourse. Consent
[13] of the child is no defense. The fact that the
[14] defendant did not know the age of a child or
[15] that a child lied about his or her age or that
[16] a defendant honestly but unreasonably believed
[17] that a child was sixteen or older would not by
[18] itself be a defense to statutory sexual
[19] assault. Itis a defense, however, if a
[20] defendant, even though mistaken about a
[21] child's age, reasonably believed that the
[22] child was sixteen or older.
[23] A defendant has the burden of
[24] proving this defense by a preponderance
[25] evidence, that is, the greater weight of th
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11]

[2] evidence. This means you cannot find the

[3] defendant guitty if you are satisfied by a

[4] preponderance of the evidence that the

[5] defendant believed the child was sixteen or

16] older and that the defendant's belief was

[7] reasonable under the circumstances.

[8] Just two more to go.

[9] Interfering with the custody of a child. The

[10] defendant has been charged with interfering
[11] with the custody of a child. To find the

[12] defendant guilty of this offense, you must

[13] find that all of the following elements have

[14] been proven beyond a reasonable doubt: First,
[15] that the defendant took or enticed Ericka from
[16] the custody of her parent. Second, that

[17] Ericka was under the age of eighteen at the
[18] time. Third, that the defendant had no legal
[19] privilege to take the child. And there really

[20] hasn't been any legal privilege raised in any
[21] context here. The story that was presented by
22] both sides is meeting on a some kind of a chat
] room or telephone line, two strangers, and
then going to dinner and then to his house and
here's no, do e confused by this last one

[1] .

[2] that says a defendant did not have a‘legal
[3] privilege to take the child. And, fourth, °
[4] that the defendant either knew he was doing
{5] these things or he acted recklessly in doing
[6] them.

[7] A defendant acts recklessly if

[8] he consciously disregards a substantial and
[9] unjustifiable risk that he is taking a child
[10] from someone else's custody, that the child is
[11] under eighteen, and that the defendant has no
[12] legal privilege to take the child. It must be
[13] grossly unreasonable for the defendant to
[14] disregard the risk that what he or she is
[15] doing amounts to these things.
[16] There may be circumstances
[17] which exist in a case that provide the

[18] defendant a complete defense fo this charge. -
[19] The Commonwealth must prove beyonda_ sy.
[20] reasonable doubt that such circumstances did
[21] not exist. One, that the defendant believed
[22] that his actions were necessary to preserve
[23] the child from danger. Second, that the

[£4] child, who was at least fourteen years af the
[25] time, went with the defendant at the child's

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nstigatior not, because she was enticed,
Circ ‘where the defendant had no

[6] if the Commonwealth has proven
[7] all of the elements of this offense beyond a
[8] reasonable doubt, then you must find the
[9] defendant guilty of interfering with the
[10] custody of a child. If the Commonwealth has
[11] not proven any of these elements beyond a
[12] reasonable doubt, then you must find the
[13] defendant not guilty.
114] And finally, corruption of a
[15] minor. The defendant has been charged with
[16] corrupting a minor. To find the defendant
[17] guilty of this offense, you must find that
[18] each of the following three elements has been
[19] proven beyond a reasonable doubt: First, the
[20] defendant was eighteen years of age or older
[21] at the time of this incident. Second, that
[22] Ericka was under eighteen years of age. And,
[23] third, that the defendant aided, abetted,
[24] enticed or encouraged Ericka to commit the
[25] acts that I've already defined for you, the

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(1
[2] your deliberations and try to decide w
[3] this is a good Jaw or a bad law. You simp
[4] have to find the facts with regard to the agé-
[5] and the acts committed between the defendant
[6] and Ericka.
[7] Your decision in this case, as
[8] in every criminal case, is a matter of
[9] considerable importance. Remember that it is
[10] your responsibility as jurors to perform your
[11] duties and reach a verdict based on the
[12] evidence as it was presented during the trial.
[13] However, in deciding the facts, you may
[14] properly apply common sense and draw upon your
[15] own every-day practical knowledge of life as
[16] each of you has experienced it.
[17] You should keep your
[18] deliberations free of any bias or prejudice. .
[19} Both the Commonwealth and the defendant have a
[20] right to expect that you will consider the
[21] evidence conscientiously and apply the law as
[22] | have outlined it to you.
[23] Upon retiring to deliberate,
[24] you should select one of the twelve to be the
[25] foreman. He or she is the one who will

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lict in the courtroom after
“deliberating. Also, once in
“@ jury-will have a question and it's
+ [5] the foremari who will write out the question
[6] and sign it and send it out.
7] . Although the foreman is the one
[8] who announces the verdict, sometimes juries
[9] are polled, and they're polled to find out if
[10] the verdict is unanimous, because whatever:
[11] your verdict is, it has to be unanimous, which
[12] means the foreman will stand up and say this
[13] is our verdict but then each juror will be
[14] asked individually, is this in fact your
[15] verdict?
[16} When | say unanimous, this
[17] means in order fo return a verdict each of you
[18] must agree to it. So remember | told you,
[19] next to each charge you're going to put either
[20] guilty or not guilty. Before you can put down
[21] guilty or not guilty for that first charge,
[22] all twelve have to agree that it’s guilty or
[23] not guilty. And | keep saying the first
[24] charge. There's no order that you have to
[25] take these in. It's entirely up to you.
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[1] [1]
[2] crimes that the defendant has been charged [2] law. Therefore, you must accept and follow my
[3] with, or corrupted or tended to corrupt the [3] rulings and instructions on the law. | am *
[4] morals of Ericka by the alleged conduct that | [4] not, however, the judge of the facts. Itis ;
[5] I've already described to you. [5] not for me to decide what are the true facts
[6] The Commonwealth must prove [6] concerning the charges against the defendant.
17] beyond a reasonable doubt the elements of this I] You, the jurors, are the sole
[8] offense. If they've proved those elements [8] judges of the facts. It will be your
[9] beyond a reasonable doubt, you must find the [9] responsibility fo consider the evidence, to
[10] defendant guilty. If they failed to prove any 10} find the facts and, applying the law to the
[11] of those elements beyond a reasonable doubt, [11] facts as you find them, fo decide whether the
[12] you must find the defendant not guilty. | [12] defendant has been proven guilty beyond a
[13] 1] have a final instruction for [13] reasonable doubt.
114] the jury with regard to going out to ° [14] And we sort of covered some of
[15] deliberate, unanimity of their verdict. [15] that in the general questioning in the
[16] Before | do that, does anyone have anything [16] beginning because | asked everybody, you know,
[17] additional? [17] can you follow certain instructions? And one
[18] MR. STACKOW: No, Your Honor. [18] example | gave you was in Pennsylvania, the
[19] THE COURT: Mr. Robins? [19] law of Pennsylvania is if a man is forty years
[20] THE DEFENDANT: No, Your Honor. (20] old and he has this kind of-contact with a’
[21] THE COURT: Okay. Before you [21] fourteen year old, because some of the laws
[22] retire to decide this case, | just want fo }22] say under eighteen and some of the laws say
" [23] provide you with some final guidelines for how under sixteen, could you follow the Court's
[24] you should conduct your deliberations. It is struction? And none of you had a problem
[25] my responsibility to decide all questions: of= tt up to you to go back in
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i [1] -

(21 “You have a duty to consult with [2] ° And | always read that the way

[3] each other and fo deliberate with a view to
14] reaching an agreement if it can be done
[5] without doing any violence to your individual
« [6] judgment. Each of you must decide the case
[7] for yourself but only after there has been
[8] impartial consideration with your fellow
* [9] jurors,
[10] In the course of deliberations,
[11] each of you as jurors should not hesitate to
[12] re-examine your own views and change your
[13] opinion if convinced that you are wrong.
[14] However, no juror should surrender an honest
[15] conviction as to the weight or effect of the
[16] evidence solely because of the opinion of your
[17] fellow jurors or for the mere purpose of
[18] reaching a verdict.
[19] In closing, | would like to
[20] suggest that you will be able to deliberate
[21] more easily and in a way that will be better
[22] for all concerned if each of you treat your
[23] fellow jurors and their views with the same
[24] courtesy and respect as you would othe
[25] persons in your every-day life.
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(3) it's written hoping that someday some

[4] appellate court will look at it and realize

[5] that it's wrong, that you really should treat

[6] yourself in jury deliberations and each other
[7] better than you treat people in every-day life
[8] and every-day situations, because this is not
[9] every day. This is a matter of the highest
[10] importance to both sides and you should treat
[11] each other with the same respect that you
[12] would expect in a matter of the highest

[13] importance in your own life.

[14] So with that in mind, does
[15] anyone have anything else?

[16] MR. STACKOW: Not for the
[17] Commonwealth, Your Honor, no.

[18] THE COURT: Anything else?
[19] THE DEFENDANT: No.

[20] THE COURT: All right. Then,

[21] jurors number thirteen and fourteen, we
[22] couldn't have done it without you. However,

] Now we are going to do it without you. So you
will be excused. We can only allow twelve

[1]

[2] will give you directions.
[3] COURT CRIER: Just remain
[4] seated. Jurors thirteen and fourteen, go

[5] inside.

[6] (Alternate jurors discharged.)

[7] THE COURT: While they're doing

[8] that, do we know? I'm sure lunch has arrived
[9] by now.

[10] COURT CRIER: Yeah. Their

[11] lunches are in the back.

[12] THE COURT: When you go back,

[13} you can eat your lunch and then begin

[14] deliberation. You can begin your deliberation

[15] while you're eating lunch. You can do it any

[16] way you want to do it. It's entirely up to

[17] you.

[18] COURT CRIER: Please remain

[19] seated while the jurors leave the room.

[20] (The jury retired to deliberate

[21] its verdict at 1:18 p.m.)

[22] . THE COURT: It's usually a good

[23] idea just to hang around for a few minutes,

{£4] although | don't think they'll have any

25] questions considering the fact that they have
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r Junch:back there already. At some point
m

gq" 4 =30 till 2:30 everybody is free
15] ‘to go out, have lunch, whatever you want to
[6] do, as long as that's acceptable to the
[7] stenographer. So from 1:30 till 2:30. And
[8] then after 2:30, Mr. DeFino, if for any reason
[9] you can't be back here at 2:30, just make sure
[10] Mr. DeFino can reach you.

[11] MR. McGILL: Oh. Nota
[12] problem, Judge.
[13] THE COURT: You should stay

[14] around until 1:30. Sometimes they go out and
[15] then they immediately realize that they want
[16] something. But if they can get through the
[17] first ten minutes without asking a question,
[18] we'll all go to lunch.
[19] (A recess was taken pending the
[20] outcome of the jury's deliberations.) _
[21] COURT CRIER: Court is
[22] reconvened.
[23] THE COURT: Okay. If we can go
[24] on the record. | don't have my copy in front
[25] of me. Do we have another copy? Did

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11] B
[2] looks like Lexis. Is that where you got.thi

[3] MR. STACKOW: Yes.

[4] MR. McGILL: | think | have
[5] that also, Your Honor.

[6] THE COURT: Well, it doesn't

[7] matter. See if you can find anything in there

[8] about the defendant's age. Because in the

[9] standard instructions they tell you that the

[10] child's under the eighteen. That's one of the
[11] elements of interfering with custody of a

[12] child.

[13] "MR. McGILL: Child under the

[14] age of eighteen. Do you know the Crimes Code
[15] section?

[16] MR. STACKOW: I'm looking at it

[17] right now. 6301, Your Honor. It says whoever
[18] being of the age of eighteen years and

[19] upwards. So | have no objection if the Court
[20] wants to include that language.

[21] THE COURT: Soit's the same as

[22] corrupting the morals.

[23] MR. STACKOW: Same as the

e's over eighteen, she's

TACKOW: He's eighteen or
“[5] older, she's less than eighteen, yeah. Not |
[6] that the distinction makes a difference in
‘| [7] this case, but.
[8] _ THE COURT: That's my proposal,
[9] that we bring them in and just tell them those
[10] age parameters with those two. That's all
[11] they're asking about. Any objection to that?
[12] THE DEFENDANT: No.
[13] MR. STACKOW: No, Your Honor.
[14] THE COURT: All right. Do you
[15] want to bring them in?
[16] (The jury returned to the
[17] courtroom with a question at 2:43 p.m.)
[18] THE COURT: All right. Would
[19] the foreman please stand? | have before me a
[20] question with your signature: Can you explain
[21] the age criteria of the charges number four
[22] and five on the list, one, interference with
[23] custody of children; two, corruption of minor.

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If] [1] '
[2] everybody get a copy? [2] with regard to corrupting the morals of a:
[3] MR. STACKOW: Yes, Your Honor. [3] minor, the defendant was eighteen years of age

* [4] THE COURT: Okay. [4] or older at the time of the incident and
[5] THE COURT: We have a question. [5] Ericka, the minor, was under eighteen years of
[6] So what would you like to do? Mr. Stackow, [6] age at the time. And with regard to
[7] you first. : [7] interfering with custody, | would simply tell
[8] ’ MR, STACKOW: Your Honor, | [8] them that —~ actually, | don't see anything in
[9] would suggest just reinstructing them on those [9] the charge about the defendant's age. Is
[10] two charges in their entirety. [10] there? Oh, yeah. It's sort of summarized in
[11] THE COURT: And, Mr. Robins, [14] the next element when they say. No, they
[12] what would you like to do? [12] don't. Do you have a copy of the charge in
[13] MR. McGILL: Judge, can you [13] front of you?
[14] clarify whether the age criteria means are [14] MR. STACKOW: | don't, Your
[15] they interested in if the person is sixteen as [15] Honor.
[16] opposed to fourteen, or are they asking if the [16] THE COURT: | mean, one of the
[17] mistake as to age is the issue? | don't think [17] elements is that the child was under the age
[18] it's clear. [18] of eighteen. Both of these statutes draw the .
[19] THE COURT: Well, the good news [19] line at eighteen. And then after that, well. .

- [20] is | can't find all of the charges but I do [20] Mr. McGill, this is your copy?
[21] have these two. What I did with the other [21] MR. McGILL: Yeah. It's from
[22] three I have no idea. But we don't need them '[22] the standard instructions, Judge.
[23] at the moment. With regard to these two, | , THE COURT: Yeah. Well, that's
[24] would only read them the part that relates t hat | was reading from before as well. It's
[25] age, which is what they're asking for. So st what I had:before was printed out from it

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[24] interference with the custody of children. [24] Is that the jury's question?
[25] THE COURT: Interference and [25] AJUROR: Yes, itis.
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(1
[2] THE COURT: Okay. The time on
{3] this question is 2:05 p.m. You can have a
‘4 seat. | had told everybody in the courtroom
[51 from 1:30 to 2:30 we would all be able to go
« [6] fo lunch, because | wanted to go to Junch too,
[7] which is why it's now just after 2:30 when
_ [8] we're getting around to answering your
* [9] question.
[10} You've only asked about the age
[11] criteria part of those crimes, so that's what
[12] the parties have agreed that I can tell you.
[13] And with regard to these two offenses, the age
[141 is described the same way for both of them.
[15] The defendant has to be eighteen years of age
[16] or older and the victim has to be under the
[17] age of eighteen. So if you find that the
[18] defendant is eighteen years of age or older,
[19] that's one of the elements, and if you find
[20] that the victim is under the age of eighteen
[21] at the time that these incidents take place,
[22] the corruption of morals, the interference
[23] with custody, then that element has been met.
” [24] Does anyone have anything _
[25] additional?
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[1]

[2]

[3]

[4] jury?
[5]

[6]

MR. STACKOW: No, Your Honor.
THE COURT: Before | excuse the

THE DEFENDANT: Yes.

THE COURT: You do?

THE DEFENDANT: No, no, | don't
[8] have anything. You may excuse the jury.
9] THE COURT: Okay. Then you're
[10] excused to go back.

[11] (The jury retired to resume its
[12] deliberations at 2:46 p.m.)

[13] THE COURT: Well, if everybody
[14] is going to be here, I'll just be back in the
[15] robing room.

[16] COURT CRIER: Take a brief

[17] recess to the call of the crier.

[18] (A recess was taken pending the
[19] Outcome of the jury's deliberations.)

[20] COURT CRIER: Court is

[21] reconvened. Can we bring in the jury, Your

22] Honor?
THE COURT: Any reason not to
-bring in the jury?

[1]

[2] THE DEFENDANT: No.
[3] THE COURT: Okay.
14] COURT CRIER: Please remain :

[5] seated. Please cease all conversations while
[6] the ladies and gentlemen of the jury enter the
[7] courtroom.

[8] (The jury returned to the

[9] courtroom with its verdict at 2:58 p.m.)

[10] COURT CRIER: Your Honor, the

[11] jury and all parties are present. May | take
[12] the verdict? :

[13] THE COURT: Yes.

[14] COURT CRIER: Will the

[15] foreperson please rise. Will the defendant
[16] please rise.

[17] Mr. Foreperson, has the jury

[18] reached a verdict?

[19] AJUROR: Yes.

[20] COURT CRIER: Have all twelve

[21] of you agreed on the verdict?

[22] AJUROR: Yes.

[23] COURT CRIER: To this Common
i24] Pleas docket number CP-51-CR-0003430-2009,
f25] charging the defendant Johnathan Robins with

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ct with minor, what is your
: (.or-not guilty?
‘A JUROR: Guilty.
5] COURT CRIER: To the same
[6} Common Pleas docket number, charging defendant
[7] Johnathan Robins with involuntary deviate
[8] sexual intercourse, what is your verdict?
[9] Guilty or not guilty?
[10] A JUROR: Guilty.
[11] COURT CRIER: To the same
[12] Common Pleas docket number, charging defendant
[13] Johnathan Robins with statutory sexual
[14] assault, what is your verdict? Guilty or not
[15] guilty?
[16] A JUROR: Guilty.
[17] COURT CRIER: To the same
[18] Common Pleas docket number, charging defendant
[19] Johnathan Robins with interference with
[20] custody of children, what your verdict?
[21] Guilty or not guilty?
[22] A JUROR: Guilty.
[23] COURT CRIER: To the same
[24] Common Pleas docket number, charging the
[25] defendant Johnathan Robins with corruption of

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[1] . I] ,
[2) minor, what is your verdict? Guilty or not [2] to thank you for your service in this case. -
[3] guilty? : [3] And if you'd like, I'll be back in a few
[4] AJUROR: Guilty. 14] minutes if you'd like to wait in order to
[5] COURT CRIER: Your Honor, the 15] answer any questions you might have. That's
[6] jury has reached a verdict. It's guilty of [6] up fo you. But thank you and you're excused.
[7] all charges. May the verdict be recorded? COURT CRIER: Please remain
” [8] THE COURT: Any reason why this 18] seated while the ladies and gentlemen of the
[9] verdict should not be recorded? 19] jury exit the courtroom.
[10] MR. STACKOW: | have no [10] (Jury discharged.)
[11] objection, Your Honor. [11] THE COURT: All right. We have
[42], THE DEFENDANT: No. [12] to pick a date for sentencing and we'll order
[13] . THE COURT: All right. You can [13] a presentence investigation. Do you want a
[14] have a seat. [14] mental health evaluation?
[15] COURT CRIER: Jurors, harken to [15] MR. STACKOW: Well, Your Honor,
[16] your verdict as the Court has recorded it. 116} I'm going to be requesting a Megan's Law
[17] You say you find Johnathan Robins guilty of [17] assessment by the Sex Offenders Assessment
[18] all charges and you say you all? We do? [18] Board.
{19} JURY COLLECTIVELY: We do. [19] . THE COURT: Okay.
[20] THE COURT: All right. Ladies 20] - MR. STACKOW: So | don't know
[21] and gentlemen, if you will return for a few (21) if you think that's necessary.
[22] moments to the deliberation room, the court 22] THE COURT: [don't think a
[23] officer will give you a certificate of 93] mental health evaluation is necessary if
[24] service. When | say that it's the least that ou're doing Megan's Law.
[25] we could do, it is the least that we coul ACKOW: With the Megan's
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[1]
12] Law assessment, they ask us to requi
[3] days as well for the completion of that.”
[4] THE COURT: So we're looking at
[5] a date sometime the end of June; is that
[6] right?

[7] COURT CRIER: How's June

[8] twenty-fifth?

[9] MR. McGILL: Judge, will you do
(10) it the following week?

[14] THE COURT: Sure. What day do
[12] you have in mind?

[13] MR. McGILL: Twenty-ninth of
[14] June, if that's available.

[15] THE COURT: We could probably

[16] do it that day. What happens on a Tuesday, if

[17] we're doing a jury, we'll do it over
[18] lunchtime.

[19} MR. McGILL: That's fine.

[20] THE COURT: All right.

[21] COURT CRIER: That would be
[22] June twenty-ninth?

[23] THE COURT: June twenty ninth
[24] for sentencing.

[25] MR. STACKOW: I do have a

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Jonor.
WRT: And that motion is?
t}: :STACKOW: To revoke the
+15] defendant's bail pending sentencing. Would
[6] you like me to?

1] THE COURT: Well, is there any
[8] reason why your bail should not be revoked?
[9] THE DEFENDANT: | really, I've

{10} been going through a issue with my dad at the
[14] house and when | was locked up the first time
[12] he stole some stuff out of the house. | just
[13] was wondering if | could just have like just a
[14] week or something just to get everything out
[15] the house.

[16]. ] understand. ['ve showed up

[17] every sentencing, like, you know. If! wanted
[18] to leave’ while they was doing the verdict, |
[19] could have done that. | understood. |'ll

[21] actually, you Know, want to get through this
[22] and hopefully I'll be asking if | can get the

[24] end of everything | still want to try to file
[25] for custody of my son and [| don't want
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[20] come back for sentencing, you know, because |

123] Megan's Law from him, from you, because in the

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11] [1]
'9] anything in the way of that. So if | actually [2] Monday. ’
3] ran, that would be in the way and it's still [3] MR. STACKOW: All right.
14] my son regardless. [4] THE COURT: Court's adjourned.
[5] ’  THECOURT: Istherea _ [5] ---
« [8] mandatory sentence for any of these? [6] (Trial concluded.)
[7] MR. STACKOW: There is for the 17] ---
2 involuntary deviate sexual intercourse, Your [8]
“ [9] Honor. It's ten years. [9]
[10] THE COURT: Bail is revoked. [10]
[11] Anything else, gentlemen, before we recess [11]
[12] court or actually adjourn for the week? [12]
[13] MR. STACKOW: Only may | 113]
[14] present that order for the Megan's Law [14]
[15] assessment on Monday morning, Your Honor? [15]
[16] THE COURT: It's all right with [16]
[17] me if it's all right with the clerk. [17]
[18] MR. STACKOW: Is that okay? Or [18}
[19] | could bring it back over this afternoon. [19]
[20] THE COURT: If you just give it [20] -°
[21] to me, I sign it and | give it back to you? [21]
[22] MR. STACKOW: Right.
[23] COURT CLERK: | don't have
[24] anything to do with that.

[25] THE COURT: I[ can do it on
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[1]
2] CERTIFICATION.
13] | HEREBY CERTIFY that the
[4] proceedings and evidence are contained ‘fully...
[5] and accurately in the stenographic notes taken
{6} by me upon the foregoing matter on March 12,
[7] 2010, and that this is a correct transcript of

[8] same. °
[9]
{10}
[14]
[12] Carl G. Sokolski.
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[13]
[14]
[15] The foregoing certification of

[16] this transcript does not apply to any

[17] reproduction of the same by any means unless
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[19] the certifying reporter.

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